        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 1 of 61




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

 UNITED STATES OF AMERICA,

            Plaintiff,

            v.                                             Case No. 19-20052-JAR

 FENG TAO,

            Defendant.


                               MEMORANDUM AND ORDER

       Defendant Feng Tao was a highly respected and acclaimed chemistry and engineering

professor at the University of Kansas (“KU”) when he received the coveted Changjiang Scholar

award from the Peoples Republic of China at Fuzhou University, the sponsoring institution. Tao

did not disclose this to KU. Tao obtained a “buy-out” of his teaching responsibilities at KU for

the spring semester of 2019, and without KU’s knowledge, spent most of the first eight months

of 2019 at Fuzhou University (“FZU”), preparing to build a research lab there, applying for

funding for that research, and recruiting graduate students to join his research team.

       Tao was charged with multiple counts of wire fraud for concealing his affiliation with

FZU from KU, and from two federal agencies, Department of Energy (“DOE”) and National

Science Foundation (“NSF”) that had previously awarded KU grant funding for Tao’s ongoing

research at KU. Tao was also charged with making false statements in certified forms that Tao

submitted to KU, within the jurisdiction of DOE and NSF, in that these federal agencies required

KU to implement and manage conflict-of-interest policies concerning the federal grant funds.

       After a two-week jury trial, Tao was convicted of three counts of wire fraud and one

count of making a false statement. Now before the Court is Tao’s Motion for Judgment of
           Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 2 of 61




Acquittal, or, in the Alternative, for a New Trial (Docs. 286, 290). The motion is fully briefed,

and the Court is prepared to rule.

       Viewing the evidence in the light most favorable to the Government, the Court finds that

the evidence was legally and factually insufficient to support Tao’s wire fraud convictions.

Though Tao was deceptive in not disclosing his activities at FZU, there was no evidence that Tao

obtained money or property through the alleged scheme to defraud, as required under the wire

fraud statute. During the time period of the alleged scheme to defraud, Tao continued to

rightfully receive his salary from KU for his services and continued to successfully perform the

research required by DOE and NSF under their research grants. But there was sufficient

evidence supporting the jury’s guilty verdict on the false statement count. Tao made a false

statement in certifying to the truth and completeness of the September 2018 Institutional

Responsibilities form he submitted to KU. Further, there is no basis for a new trial on the false

statement count. So, after a careful and thorough review of the trial record and arguments

presented, the Court grants in part and denies in part Tao’s motion.

I.     Background

       A federal grand jury returned a ten-count Second Superseding Indictment (“Indictment”)

charging Tao in Counts 1 through 7 with wire fraud, in violation of 18 U.S.C. §§ 1343 and 2, and

in Counts 8 through 10 with making false statements, in violation of 18 U.S.C. §§ 1001(a) and

2.1 To support these charges, the Indictment alleged that Tao engaged in a scheme to “obtain”

his salary from KU and federal grant funds from DOE and NSF by concealing his affiliation with

FZU, associated benefits, and foreign research support. Before trial, Tao filed two motions to




       1
           Doc. 75.




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           Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 3 of 61




dismiss the Indictment,2 which the Court denied.3 The Court later granted the Government’s

motion to dismiss Counts 3 and 8.4

       Trial began on March 21, 2022. The Government’s case-in-chief spanned nearly two

weeks, during which the jury heard testimony from 30 witnesses and viewed close to 400

exhibits. At the close of the Government’s case, Tao orally moved for a judgment of acquittal on

all eight counts under Fed. R. Crim. P. 29, arguing the evidence was insufficient to convict him

of the charges. As permitted by the rule, the Court reserved its judgment on the motion. Tao

orally renewed his motion after the close of the defense’s case the next day. The Court again

reserved judgment and permitted the case to proceed to the jury. After deliberating for one and a

half days, and submitting a jury question, the jury returned a split verdict. The jury found Tao

guilty of three counts of wire fraud (Counts 4, 6, and 7, renumbered as Counts 3, 5, and 6 at trial)

and one count of making a false statement (Count 9, renumbered as Count 7 at trial). The jury

acquitted him on the remaining four counts. Tao timely renewed in writing his motion for

judgment of acquittal and moved in the alternative for a new trial under Fed. R. Crim. P. 33.5

That motion is now before the Court.




       2
           Docs. 82, 83.
       3
           Doc. 99.
       4
           Docs. 219, 222.
       5
           Docs. 286, 290.




                                                 3
             Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 4 of 61




II.      Evidence Presented at Trial6

         The Court begins by recounting the evidence presented at trial, viewed in the light most

favorable to the Government.7

         A.         Employment at KU

         KU hired Tao in 2014. Previously a professor at Notre Dame, Tao joined the KU faculty

as a full-time, tenured associate professor in the Chemistry and Petroleum Engineering

Departments. With him came several hundred thousand dollars in federal grant funds from NSF.

This NSF grant was originally awarded to Notre Dame to fund Tao’s research under NSF’s

CAREER program, which supports promising early-career faculty to “help them bring their

research to the next level.”8 The CAREER grant was transferred to KU in December 2014.

         Tao successfully secured additional federal research grants while at KU. As relevant

here, KU submitted a grant proposal to NSF to support his research on October 2, 2017; NSF

awarded the grant to KU on June 28, 2018. On December 11, 2017, two months after submitting

the NSF grant proposal, KU submitted a grant proposal to DOE seeking renewed funding to

support Tao’s ongoing research. DOE awarded the grant on September 18, 2018. In addition to

these grants, Tao was a co-principal investigator on an NSF grant that KU applied for in March

2015. During Tao’s tenure, he submitted numerous grant proposals to funding agencies and he

submitted numerous annual Institutional Responsibilities forms.9




         6
           All citations to trial testimony are to the unofficial transcripts because neither party has purchased
finalized certified transcripts. At Tao’s unopposed request, the Court allowed him to rely on the unofficial
transcripts in part because everyone agrees the transcripts in this case, though unofficial, are of high quality. See
Docs. 291, 292.
         7
             See United States v. Tennison, 13 F.4th 1049, 1059 (10th Cir. 2021).
         8
             Trial Tr. Day 3 at 57:5–9.
         9
             Exs. 22–25.




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        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 5 of 61




       During his tenure at KU, Tao had a “stellar research record.”10 In April 2019, he was one

of four KU professors to receive the University Scholarly Achievement Award. This marquee

award “recognize[s] standout researchers who embody [KU’s] mission to make discoveries that

change the world,” and comes with a $10,000 prize.11 The chair of Tao’s department, Dr.

Laurence Weatherley, supported Tao’s nomination.

       At the awards ceremony in April 2019, KU’s Chancellor, Dr. Douglas Girod, proclaimed

that Tao’s research contributions had “far exceeded expectations in his field in terms of his

productivity and really his level of ingenuity.”12 Dr. Girod noted that Tao “had 175 publications

with over 6,000 citations, which really speaks to the novelty and the relevance of his work,” and

that he had “really enhanced KU’s capabilities in surface science in the area of catalysis.”13 Dr.

Girod also commended Tao for (1) being named a fellow in the American Association of the

Advancement of Science and in the Royal Society of the United Kingdom; (2) serving as a

reviewer on panels for both DOE and NSF; (3) “flourishing research collaborations with a

number of colleges and other institutions”; and (4) developing “a very strong team of graduate

students and post-doc researchers in addition to developing a world class lab here at KU.”14

Tao’s wife accepted the award on his behalf because Tao was in China at the time.

       Like many faculty members, Tao’s research was stronger than his teaching. In his annual

evaluations from 2015 to 2018, undergraduate teaching and advising were identified as “[a]reas




       10
            Exs. 28, 29.
       11
            Ex. 1450.
       12
            Trial Tr. Day 2 at 77:16–20.
       13
            Id. at 77:21–78:2.
       14
            Id. at 78:3–25.




                                                 5
          Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 6 of 61




noted for improvement” or “further development.”15 Faculty committee service was also listed

as an area for development. Dr. Weatherley, who prepared and delivered the annual evaluations,

testified that Tao’s “external service [was] no problem.”16 But he emphasized the importance of

internal, departmental service as a “piece of advice . . . that [he] would give to any colleague”

interested in being promoted to full professor, because “the process for promotion . . . is basically

peer review.”17 Dr. Weatherley testified that it is not unusual for faculty members to have areas

for development identified in annual evaluations. Indeed, providing feedback on a faculty

member’s strengths and weaknesses in an annual evaluation is “[v]ery common” and a purpose

of the evaluation.18 In Dr. Weatherley’s view, Tao was a solid faculty member.

        B.         The 40-40-20 Split

        Faculty members at KU divide their effort into three parts: research, teaching, and

service, typically in a classic 40-40-20 split of their time. Research responsibilities include

conducting scientific research, publishing scholarship, and seeking grant funding to support

scholarly activity. Traditionally, teaching two classes per semester “would make up that

[second] 40 percent,” covering the time that goes into preparation, instruction, evaluation,

assessment, testing, and advising.19 But teaching also includes “hands-on” instruction like

directing graduate-student research.20 Eighty percent of a faculty member’s time is split evenly




        15
           See, e.g., Ex. 26 (2015 annual evaluation); Ex. 27 (2016 annual evaluation); Ex. 28 (2017 annual
evaluation); Ex. 29 (2018 annual evaluation).
        16
             Trial Tr. Day 3 at 111:3.
        17
             Id. at 109:22–110:13.
        18
             Id. at 174:25–175:11.
        19
             Trial Tr. Day 2 at 43:22–23, 47:11–15.
        20
           Id. at 43:25–44:3 (“[O]ur graduate students learn by doing research, working closely along a faculty
member who helps them conduct research, and plan out the research and analysis, and so [the teaching component
includes] both hands-on as well as classroom [instruction].”); see also id. at 47:15–18.




                                                         6
         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 7 of 61




between research and teaching, reflecting their equal importance. The remaining twenty percent

is spent on service to the university, community, and profession.

       Although faculty normally spend forty percent of their time teaching, a faculty member

may request to “buy out” a course with external grant or endowment funds to release them from

teaching responsibilities for a semester. If approved, another faculty member or adjunct

instructor will cover the bought-out course. Faculty members receive no extra salary for

teaching a bought-out course, but if an adjunct is assigned to teach it, KU will use the buyout

funds to pay the adjunct.

       Faculty members at KU are on a nine-month academic year appointment. The university

thus does not pay them a salary in the summer months––“the off-contract period.”21 But faculty

members may earn supplemental compensation in the summer funded by research grants for

effort expended on their research projects.

       C.         Federal Research Funding

       KU is a top-tier research university. Each year, the university receives hundreds of

millions of dollars in federal grant funds to support its research. Dr. Girod testified that the

university has a “vested interest in making sure that [it] remains eligible” for that funding.22 If

KU lost the ability to obtain grant funds, Dr. Girod testified, then it would “fail to serve as a

research university,” and would become “a teaching university.”23 KU’s Office of Research

oversees research administration at the university, including pre- and post-award management, to

ensure compliance with federal funding requirements.




       21
            Id. at 153:6–12.
       22
            Id. at 51:13–14.
       23
            Id. at 51:18–20.




                                                  7
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 8 of 61




       KU’s Office of Research worked with Tao not only in the pre-award phase of his grant

proposals but also in the post-award phase to ensure that the federal funds were spent in

accordance with applicable guidelines, policies, and procedures. Ensuring compliance was a

joint responsibility. The Office of Research ensured that each grant was administered in

accordance with applicable guidelines (e.g., format, budget, reports, etc.) while Tao was

responsible for ensuring that the information about the research and his own activities was

accurate.

       After the NSF and DOE awarded grants funds to support Tao’s research, KU managed

and maintained possession of the federal grant money. Alicia Reed, the Assistant Vice

Chancellor for Research at KU, testified that “each agency will have terms of allowability” and

that allowable costs on a standard research award usually include salary, fringe benefits to

support personnel, travel costs, and equipment and supplies necessary for research.24 While at

KU, Tao used his NSF and DOE grant funds to support his research projects. In 2019, for

instance, KU purchased scientific equipment and supplies at Tao’s request. Tao also used grant

funds to pay for travel and salaries for him and his research team. And, Tao earned summer

salaries funded by his grants in 2018 and 2019. KU has not identified any improper expenditures

of grant funds incurred by Tao or his research team.

       D.         Changjiang Scholars Program

       In July 2017, Tao applied to the Changjiang Scholars Program, a Chinese talent

recruitment program. Broadly speaking, foreign government talent recruitment programs seek to

recruit promising scholars and researchers by offering them resources to perform research. Dr.

Glenn Tiffert, the Government’s expert witness, testified that the Changjiang Scholar Program is


       24
            Trial Tr. Day 3 at 23:24–24:5.




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         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 9 of 61




administered by China’s Ministry of Education, but candidates apply through a sponsoring

Chinese university. Tao’s sponsor was FZU. Dr. Tiffert testified that the typical profile of a

successful candidate is an accomplished mid-career scientist with a strong research background,

including experience running a lab, training graduate students and post-doctoral researchers, and

building a research program. The candidate must also be able to teach core courses at the

sponsoring Chinese university.

       If a candidate is selected to serve as a Changjiang Scholar by the Chinese Ministry of

Education, the sponsoring university and the candidate then negotiate the terms of an

employment contract. That employment contract must be approved by the Ministry of

Education. Once approved, the Ministry of Education issues a certificate formalizing the

candidate’s participation in the program as a Changjiang Distinguished Professor. Ministry of

Education regulations require Changjiang Distinguished Professors to work full-time at a

Chinese university and prohibit them from maintaining employment elsewhere. The regulations

give them a six-month transition period to wind down their current employment after signing the

contract and receiving the certificate.

       By January 2018, Tao had been selected as a Changjiang Scholar. After his selection,

employment contract negotiations with FZU began. Between February and May 2018, FZU and

Tao exchanged several unsigned draft employment contracts. Tao received the latest version of

the draft contract on May 4, 2018. In that version, FZU offered Tao an annual salary of about

$85,000, $3 million dollars in research funds, $1.5 million to purchase laboratory equipment, and

laboratory space. The draft contract also contained a provision that Tao would “work full-time

for [FZU] and not hold or draw salary from any concurrent post nor change his employer.”25


       25
            Exs. 336, 337.




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        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 10 of 61




        The next day, on May 5, 2018, Tao took a three-day trip to China to visit FZU. And

sometime that same month, Tao was issued a leather-bound certificate from China’s Ministry of

Education certifying “that Fuzhou University appoints [him] as a 2017 Ministry of Education

‘Changjiang Scholar Award Program’ Distinguished Professor, with an employment period of

five years.”26 There is no evidence of an executed employment agreement between Tao and

FZU. Nor is there evidence that Tao received any payments from FZU.

        Before traveling to China, Tao sought advice from his colleagues about the FZU

opportunity. For instance, in February 2018, Tao called Meilin Liu, a professor at the Georgia

Institute of Technology, to discuss the offer. Tao recorded the call. Tao told Liu that FZU had

offered him about $3 million dollars in research support, but that FZU required a full-time

academic appointment. Tao asked whether Liu thought he could scale back his appointment at

KU from full time to part time. Liu responded that it “depend[ed] on [KU]” and “how it

assesse[d] [Tao],” but that he knew other professors who worked three or four months in the

United States, and the rest of the year in China.27 At the end of the conversation, Tao stated:

“This is really a headache for me. . . . On the one hand . . . I don’t think I should give up [the

FZU] opportunity. But . . . I think this is also a nuisance. If I don’t give up the opportunity. . . .

You say I should take it, but if I take it, I’ll have to give things up on [the KU] end.”28 Liu

responded that if Tao “clearly” told KU that he was “working on both sides, it shouldn’t be an

issue.”29




        26
             Ex. 619A.
        27
             Ex. 512A at 00:03:52–00:04:04.
        28
             Id. at 00:21:40–00:21:51.
        29
             Id. at 00:21:56–00:21:57.




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        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 11 of 61




       A day earlier, Tao called a KU professor, which call Tao also recorded, to ask him

whether KU allows professors to convert their full-time appointments to half-time

appointments.30 Tao did not mention FZU to the KU professor. Instead, Tao said that he was

exploring an opportunity in Germany and wanted to know if he could pursue it without giving up

his job at KU. Tao explained that he had a research team at KU and did not “want to give it

up.”31 The KU professor floated a suggestion: that Tao accept a three-month, rather than six-

month, appointment at the German university and that he buy out one of his courses at KU.

This, the professor explained, would free Tao to travel and work at the German university during

the semester of the buyout and into the summer. The professor noted that Tao could “even tell

[his] department chair explicitly . . . that [he] want[ed] to go there to collaborate.”32 But the

professor advised Tao that if he wanted “to do half-and-half,” then he should “mention it to [his]

department chair to see if it’s a possibility.”33 The professor cautioned that if Tao earned his

nine-month salary from KU and was paid for more than three months from another university, it

“may be a problem.”34

       And two days before he traveled to China, Tao recorded a phone discussion with another

professor about his offer from FZU. During this call, Tao stated that if wanted the job, he would

need to sign a contract in a few days, or the offer would expire. Tao expressed concern about the

requirement that he work at FZU full time because his family would not agree to move back to

China. But Tao explained that he could buy out of his teaching responsibilities at KU for a



       30
            Ex. 514A at 00:00:54–00:01:01.
       31
            Id. at 00:00:43–00:00:54.
       32
            Id. at 00:04:41–00:04:48.
       33
            Id. at 00:05:48–00:05:54.
       34
            Id. at 00:06:42–00:06:44.




                                                  11
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 12 of 61




semester and then take three months of no-pay leave. Tao said that this would permit him to

simultaneously fulfill his scaled-back responsibilities at KU, receive little pay from KU, and

satisfy the Chinese Ministry of Education’s requirement that he spend most of his time in China.

       Recorded conversations and evidence seized from Tao’s home and lab indicated that Tao

was aware that other professors involved in China talent programs were under investigation or

prosecution. Tao forwarded articles concerning these prosecutions to his wife.35 And when

Tao’s professor friend at Georgia Tech advised Tao that he needed to tell KU about the FZU

position, Tao responded, “some people don’t say anything, that’s for certain. But if I don’t say

anything, then . . . it would definitely be problematic if this thing were ever looked into.”36 Tao

also mentioned the FBI investigations of other scientists.37

       E.         Fuzhou University

       While FZU and Tao were engaging in contract negotiations, Tao began taking steps to

work at FZU. In March 2018, Tao agreed to serve as an advisor to graduate students there and

he signed mentor cards. Tao also began applying for research funding in China and began

recruiting graduate and post-doctoral students to potentially join his research team at FZU––

efforts that continued throughout 2018 and into 2019. Tao sought assistance from other

professors to identify potential recruits, and when researchers emailed him to inquire about

working at KU, Tao often redirected them to FZU. Tao also encouraged Luan Nguyen, then a

post-doctoral researcher on Tao’s team at KU, to apply to work at FZU. Nguyen applied and he

received an offer from FZU. Nguyen testified that Tao “passed along the offer” to him.38



       35
            Ex. 203.
       36
            Ex. 512A at 21:55–57, 04:42–04:55; see also Ex. 514A.
       37
            Ex. 512A at 13:58–20:34.
       38
            Trial Tr. Day 9 at 119:11.




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        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 13 of 61




       While Nguyen was considering the offer, beginning around August 2018, he tried to help

Tao obtain equipment to set up a laboratory at FZU. Tao instructed Nguyen to work on this with

Yu Tang, who had recently earned a Ph.D. from KU and joined FZU’s faculty. In December

2018, Tao set a schedule for Nguyen and Tang, giving them until March 31, 2019, to receive the

equipment and “start to assemble and test.”39 Nguyen obtained quotes for equipment from

different vendors but never purchased any of it. Nguyen also used a credit card provided by Tao,

but that belonged to another FZU employee, to purchase copyrights to some journal articles. In

May 2019, Nguyen traveled to China with Tao to visit FZU. Tao told him not to tell others

about the trip. Nguyen testified that, based on his observations, “it look[ed] like [Tao] was

working with people at Fuzhou University,” but he did not know if Tao ever worked, or ever

would work, for FZU.40 In the end, Nguyen declined FZU’s offer.

       In 2018 and 2019, Tao traveled extensively to China. From December 11, 2018, to

August 20, 2019, Tao spent most of his time in China, save for a few short trips back to the

United States.

       F.           KU Disclosure Requirements

       When Tao joined KU in 2014, he signed an acknowledgment stating that he “agree[d] to

follow all university policies,” including the Kansas Board of Regents’ Commitment of Time

and Conflict of Interest Policy (“Commitment & Conflict Policy”) and the Individual Financial

Conflict of Interest Policy.41 He also certified that he had “reviewed and comprehended the

policies.”42 The Commitment & Conflict Policy provides that “a conflict of interest occurs when



       39
            Ex. 274.
       40
            Trial Tr. Day 9 at 126:2–11.
       41
            Ex. 1
       42
            Id.




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        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 14 of 61




there is a divergence between an individual’s private, personal relationships or interests and any

professional obligations to the university such that an independent observer might reasonably

question whether the individual’s professional actions or decisions are determined by

considerations of personal benefit, gain or advantage.”43 “Conflicts of commitment usually

involve issues of time allocation.”44

       The Commitment & Conflict Policy requires KU faculty members to: (1) report on an

annual basis any “consulting arrangements, significant financial or managerial interests, or

employment in an outside entity whose financial or other interests would reasonably appear to be

directly and significantly affected by their research or other university activities”; (2) disclose

“on an ad hoc basis current or prospective situations that may raise questions of conflict of

commitment or interest”; and (3) report on an ad hoc basis outside consulting activities, i.e., “all

external personal, professional activities,” and “secure approval prior to engaging in the

activities.”45 Moreover, “[w]ithout prior approval,” full-time faculty members “must not have

significant outside managerial responsibilities nor act as principal investigators on sponsored

projects that could be conducted at their institution but instead are submitted and managed

through another or organization.”46 After a real or apparent conflict of interest or commitment is

reported, it must be either eliminated or managed “in an acceptable manner.”47

       KU faculty members must annually disclose conflicts of interest and commitments using

the university’s “Institutional Responsibilities” form. The form first requires faculty members to



       43
            Ex. 3 at 2–3.
       44
            Id. at 2.
       45
            Id. at 4–5.
       46
            Id.
       47
            Id. at 2.




                                                  14
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 15 of 61




disclose “all activities [the faculty member] perform[s] in the scope of [their] work for the

University.”48 The form explains that “[t]his profile of your University responsibilities helps in

determining whether your disclosed financial interests or time commitments (if applicable) could

potentially conflict with your university responsibilities.”49 The form then goes on to require

faculty members to disclose significant financial interests and time commitments that meet the

following criteria:

                   1. Disclosure Criteria for Significant Financial Interests (SFI)

                   Disclose financial interests . . . in an entity that a) reasonably
                   appears to be related to your University responsibilities, and b)
                   meets one or more of the following criteria:

                   A. A financial interest worth $5,000 or more in any entity, where
                   the value is the aggregate of:

                   i. any remuneration received from the entity in the twelve months
                   preceding the disclosure plus

                   ii. any equity or other legal interest in the entity as of the date of
                   disclosure or, if not owned on the date of disclosure, as of the date
                   of liquidation.

                   ....

                   C. Intellectual property rights and interests (patents, copyrights)
                   upon receipt of income related to such rights and interests.

                   D. Any reported or reimbursed travel in the past 12 months from
                   any external entity that is reasonably related to your University
                   responsibilities . . . .

                   ....

                   2. Disclosure Criteria for Time Commitments in External
                   Professional Activities




       48
            Ex. 25 at 1.
       49
            Id.




                                                     15
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 16 of 61




                   Disclose any entity with which you engage in personal
                   professional activities that take time away from your University
                   responsibilities, whether or not you receive compensation . . . .50

By electronically submitting the form, faculty members certify that the form “is a true, correct,

and complete statement” and that they “have read and complied with the Kansas Board of

Regents and University of Kansas policies on commitment of time, conflict of interest,

consulting and other employment.”51

       When a faculty member reports a potential conflict of commitment or interest, the Office

of Research reviews the submission to determine whether a conflict exists and, if it does, KU

will put a conflict management plan in place to address it. Similarly, before submitting a grant

proposal to a federal agency, the Office of Research reviews the principal investigator’s

Institutional Responsibilities forms to determine if there are any conflicts of interest that need to

be managed or disclosed to the agency.

       Having a conflict does not, however, mean that a faculty member cannot do research or

work at KU. Reed testified that “[t]here is no policy that states that you couldn’t be an employee

or that you couldn’t do research [if a conflict exists]; you just have to have it managed so that

there’s not the appearance of that conflict.”52 Similarly, Angie Loving, Assistant Vice Provost

for Human Resources at KU, testified that employees do not lose their jobs for having conflicts.

Rather, Loving explained, the Director of Research Integrity will “work through steps to

determine if that conflict c[an] be managed or not with the terms of their employment.”53 If the

conflict cannot be managed, and if the employee refuses to abandon the external activity that



       50
            Id. at 4.
       51
            Id. at 8.
       52
            Trial Tr. Day 2 at 161:21–162:10, 162:17–20.
       53
            Id. at 124:4–8.




                                                       16
         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 17 of 61




presents the conflict, then the matter could “potentially end up with HR”––but only “[i]f it meant

that their employment could not continue because of that conflict.”54

         One reason KU maintains these conflict policies and controls is to comply with the Office

of Management and Budget’s Uniform Administrative Requirements, Cost Principles, and Audit

Requirements for Federal Awards (“Uniform Guidance”), located in 2 C.F.R. Part 200. Reed

testified that the Uniform Guidance requires universities to “have some sort of conflict of interest

policy, and the way that [KU] ha[s] implemented it is to use the annual certification process with

the ad hoc requirement to update it.”55 Moreover, pursuant to the Uniform Guidance, NSF

specifically “requires each grantee organization . . . to maintain an appropriate written and

enforced policy on conflict of interest and that all conflicts of interest for each award be

managed, reduced or eliminated prior to the expenditure of award funds.”56 DOE also makes

universities responsible for handling conflict of interests issues.57

         The Office of Research seeks to ensure that KU maintains and enforces conflict of

interest policies so that the university can remain eligible to receive federal research grants.

Every time the Office of Research submits a grant proposal to a federal agency, it agrees to

follow the Uniform Guidance and certifies that it will comply with the specific requirements of

the agency, including the agency’s conflict of interest requirements.

         Tao never disclosed to KU any actual affiliation with or activities at FZU. In both his

2018 and 2019 Institutional Responsibilities forms, submitted on January 29, 2018 and


         54
              Id. at 124:10–16.
         55
             Trial Tr. Day 4 at 89:4–7; see 2 C.F.R. § 200.112 (“The Federal awarding agency must establish conflict
of interest policies for Federal awards. The non-Federal entity must disclose in writing any potential conflict of
interest to the Federal awarding agency . . . in accordance with applicable Federal awarding agency policy.”).
         56
              Ex. 48 at 127.
           57
              See Trial Tr. Day 6 at 6:2–16 (explaining that DOE does not “look at issues of conflict of interest”;
“[t]his is something that the university is responsible for”).




                                                           17
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 18 of 61




September 25, 2018, respectively, he disclosed no conflicts of interest or time. At trial, the

Government asked Reed if she would have submitted Tao’s grant proposals “as is” to DOE and

NSF if she had known that Tao: (1) “had received a Changjiang Scholar Award”; (2) “was

collaborating with [or working at] Fuzhou University”; (3) “was helping build a lab at Fuzhou

University”; (4) “was recruiting students for Fuzhou University”; (5) “had submitted research

proposals to the Chinese National Science Foundation”; and (6) “had been promised any funding

from Fuzhou University.”58 She responded no; before submitting, she would have updated the

grant proposals and put a conflict management plan in place. The last proposal KU had

submitted to a federal agency to support Tao’s research was in 2017––before Tao had been

selected as a Changjiang Scholar. But Tao made no ad hoc disclosures thereafter either.

       G.         NSF

       In May 2018, about one month before NSF awarded the grant for which KU applied in

2017, an NSF program manager asked Tao to update his “current and pending support”

information.59 NSF’s Proposal and Award Policies and Procedures Guide states that “current

and pending support” includes all current and pending research support, whether paid or unpaid,

from any source, and “all other projects or activities requiring a portion of time of the [principal

investigator] . . . even if they receive no salary support from the project(s).”60 NSF uses current

and pending support information to assess whether the individual has the capacity to carry out

the research as proposed, and to determine whether there is any overlap or duplication with the

proposed project. On May 18, 2018, Tao told NSF that his only current and pending research




       58
            Trial Tr. Day 3 at 54:6–9, 59:22–24.
       59
            Ex. 142.
       60
            Ex. 48 at 56.




                                                   18
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 19 of 61




support came from DOE and NSF. He did not disclose any information about an affiliation with

or activities at FZU.

       NSF’s Chief of Research Security Strategy and Policy, Rebecca Keiser, testified that if

Tao had disclosed this information, NSF would have assessed that information for “capacity,

duplication, and overlap.”61 She elaborated: “if that information had been disclosed, it might

influence the considerations about whether [he] had the capacity to perform the grant, if he had

many other research obligations. We would have to look through it to see . . . if there was any

concerning overlap or duplication between what was being funded by the other organizations and

what NSF was funding.”62

       Dr. Keiser testified that she was unaware of any allegations in this case that Tao did not

perform his research for NSF precisely in the matter prescribed or that he used NSF funds to

support any foreign organizations. She expressed concern that a researcher who fails to disclose

that they have an affiliation or are doing research elsewhere “might be doing th[e] NSF funded

research in another place using other equipment that they haven’t told” NSF about, making it

difficult “to trust that the research was done as the researcher had told us they were going to do

it.”63 But she was unaware of any allegations that this happened here. Dr. Keiser was the only

witness from NSF called to testify at trial.

       H.         DOE

       In July 2018, Tao sent Dr. Viviane Schwartz, a program manager for DOE, updated

current and pending support information she requested in connection with his December 2017

DOE grant proposal. Like NSF, DOE requests current and pending support information to assess


       61
            Trial Tr. Day 5 at 91:4–5.
       62
            Id. at 91:5–11.
       63
            Id. at 111:6–16.




                                                19
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 20 of 61




capacity, duplication, and overlap. Tao did not disclose any information about an affiliation with

or activities at FZU.

       Dr. Schwartz testified that she would have wanted to know if Tao had received any

foreign research support to verify that he had the capacity to perform the DOE research and to

assess whether there were any overlap concerns. But she was not interested in whether he had a

second job at a foreign university or whether he was given funding to build a laboratory there:

                   Q.      . . . . [W]ould you have wanted to know if he had a second
                   job at a Chinese university while having his full-time job at KU?

                   A.      Since I’m not his employer, I really don’t verify, you know,
                   jobs, per se. That is not my role as a program manager. . . .

                   ....

                   Q.     And when you were reviewing his renewal, would you
                   have wanted to know whether he had been promised or received
                   funding from a foreign research university or institution to build a
                   laboratory?

                   A.     To build a laboratory? I don’t think that would be of my
                   concern.

                   Q.      And is that because it’s – the building of the laboratory is
                   sort of a distinct concept from your perspective versus the actual
                   research that he might be doing in that he might be doing in that
                   laboratory?

                   A.        Correct.64

       As for Tao’s research for DOE, Dr. Schwartz agreed “the research got done” and that “it

appeared to have been done satisfactorily.”65 She also praised Tao’s work internally to DOE in

June 2019:

                   This is the first year after the renewal [of the grant] and the
                   [principal investigator] continues [to] report[] nicely their recent
                   advances with an output of (at least) four new publications on

       64
            Trial Tr. Day 6 at 10:2–7, 11:9–18.
       65
            Id. at 19:1–5.




                                                     20
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 21 of 61




                  which our grant was the major contributor. The publications are
                  (as usually with this [principal investigator]) in high impact
                  journals (JACTS, Nature Comm., Langmuir, among others). . . .
                  [T]he [principal investigator] also contributed to a very
                  comprehensive review in the field published this year at Chem
                  Rev. . . . The output is very good and supportive of continued
                  funding.66

The metrics DOE uses to measure grant success include, among other things, the number of

articles published under the grant, the number of citations to those articles, and journal impact

factor. Based on DOE’s metrics, Dr. Schwartz viewed Tao’s research for DOE as a success.67

Dr. Schwartz was the only witness from DOE called to testify at trial.

       I.         Spring 2019 Course Buyout

       Tao never mentioned FZU to anyone at NSF or DOE. And he did not disclose to KU that

he had been named a Changjiang Scholar or Changjiang Distinguished Professor at FZU. Tao

told a former KU student whom he was trying to recruit to FZU: “If someone else mentions it to

you, pretend you didn’t know right? You don’t, you don’t need to go . . . mention this to others

. . . saying I, that is, I got some Changjiang Scholar award or anything like that.”68 Tao told

another of his former KU students to not use Tao’s FZU email address in emails with other US-

based colleagues.69 This was consistent with FZU’s president’s advice to Tao. In a recorded

phone call, the president told Tao not to leave any trace of his job at FZU “in writing or

anything. Because that would be evidence.”70




       66
            Ex. 36.
       67
            Trial Tr. Day 6 at 20:14–21:12.
       68
            Ex. 511A at 15:43–16:14.
       69
            Ex. 253.
       70
            Ex. 521A.




                                                 21
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 22 of 61




       In May 2018, shortly after returning from China, Tao did tell KU that he planned to

collaborate with a professor at FZU. He sent KU’s Office of Research a proposed subaward

contract with FZU for a collaborative research project and worked with the Office of Research to

prepare a budget and review the proposed contract. He also proposed using part of the budget to

buy out of teaching one course in spring 2019.

       Tao told the Office of Research that FZU “hope[d] to start [the research project]

ASAP.”71 But after the Office of Research sent a markup of the draft contract to FZU in June

2018, FZU stopped replying to their emails. After several months went by, the Office of

Research asked Tao if he knew the status of the contract. Tao responded that “[t]here were a few

competitors for that fund” and that he “was not successful in the competition.”72

       The same day he first sent the Office of Research the proposed subaward contract, Tao

emailed Dr. Weatherley requesting a leave without pay for the spring semester of 2019. In

support, Tao attached a letter from Robert Schlögl, a German professor, inviting him to

collaborate in Germany in the spring and summer of 2019. Dr. Weatherley denied the request

because he was concerned about the impact the leave would have on Tao’s future promotion to

full professor and on his department’s funding.

       About a month later, on June 22, 2018, Tao submitted to Dr. Weatherley a request to buy

out of teaching the one course he was scheduled to teach in the spring semester of 2019. Tao

represented to Dr. Weatherley that FZU would fund the buyout and that the buyout was

necessary for him to focus on his “research projects[,] including [the FZU subaward] project,

[and his] NSF-Career and DOE projects.”73 Tao also said the buyout would allow him “to travel


       71
            Ex. 153 at 1.
       72
            Ex. 211 at 1.
       73
            Ex. 165 at 1.




                                                  22
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 23 of 61




. . . to access public facilities and instruments located at synchrotron centers in other states or

countries for these projects.”74

       Dr. Weatherley approved the buyout request three days later. Dr. Weatherley’s approval

was subject to three standard conditions: (1) that Tao “arrange the transfer of dollars from [his]

accounts to the department account amounting to 13.5% of [his] nine month salary + fringes”;

(2) that Tao’s other duties, “including advising, committee work, [and] other service to [KU],”

continue; and (3) that Tao “be in attendance on campus during the semester in accordance with

KU policy.”75 But Dr. Weatherley testified at trial that there is no policy requiring faculty

members to stay on campus when they have no other classes to teach the semester of the buyout.

A buyout, Dr. Weatherley told Tao, is “designed to provide flexibility for highly active

researchers.”76

       Tao spent most of the spring 2019 semester in China. During that semester, Tao lied to

Dr. Weatherley about his whereabouts, claiming that he was doing research in Germany. For

instance, Tao notified Dr. Weatherley by email in January 2019 that he would miss an upcoming

faculty retreat because he was attending “conferences in Germany.”77 Dr. Weatherley testified

that Tao’s whereabouts did not matter to him; he just wanted to be informed that Tao would not

attend the retreat. Faculty members do not always attend these retreats, and Dr. Weatherley

found “nothing unusual” about Tao’s email.78




       74
            Id.
       75
            Ex. 167.
       76
            Trial Tr. Day 3 at 182:8–11.
       77
            Ex. 225.
       78
            Trial Tr. Day 3 at 198:2–4.




                                                  23
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 24 of 61




       Later that same month, Dr. Weatherley emailed Tao requesting that he promptly submit

paperwork necessary for accreditation of the department’s undergraduate and graduate programs.

Dr. Weatherley said that “the [National Accrediting Body for Engineering and Technology

(“ABET”)] committee met . . . and noted that [Tao’s] ABET Outcome Evaluations for [a] course

[he taught] in academic year 2018-19 [wa]s missing.”79 Tao submitted the required paperwork

by the deadline Dr. Weatherley gave him. And although Dr. Weatherley did not ask, Tao again

falsely claimed that he was “traveling in Germany.”80

       Two months later, in March 2019, Dr. Weatherley emailed Tao requesting that he

promptly meet with twenty-two of his undergraduate advisees. These students needed to enroll

in classes for the fall semester that week but had been unable to reach Tao for advising. Dr.

Weatherley testified that after he sent this email, he understood the matter was taken care of,

because he “didn’t hear about it anymore.”81

       After the spring 2019 semester ended, someone from Tao’s department contacted Jane

Johns, a KU administrator, to ask which research grant would cover Tao’s buyout. She reviewed

Tao’s available funding sources, identified three––two NSF grants and one DOE grant––and sent

Tao an email asking him which one he wanted to use for the buyout. Johns testified that she

directed this question to Tao because “it was his call which funding he was going to use.”82 Tao

selected his NSF CAREER grant.

       In his buyout request to Dr. Weatherley, Tao proposed to use funds from FZU, not NSF,

to cover the buyout. But using FZU funds was not a requirement. Dr. Weatherley testified that



       79
            Ex. 321.
       80
            Id.
       81
            Trial Tr. Day 3 at 201:5–6.
       82
            Trial Tr. Day 4 at 231:5–6.




                                                24
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 25 of 61




if the proposed subaward contract with FZU fell through, as it did, Tao could use other available

grant funds to cover the buyout. Dr. Weatherley explained that Tao “had a significant portfolio

of funding” and could select any funds available to him.83 Dr. Weatherley was never “too

concerned” about where the funds to cover the buyout would come from.84

III.   Discussion

       Tao moves for a judgment of acquittal on all four counts of conviction. He argues that

the evidence was insufficient to convict him on the three wire fraud counts, and that the

Government presented an infirm theory of fraud. He also argues that the evidence was

insufficient to prove any of the essential elements on the false statement count. If the Court

declines to acquit him on any of the four counts, Tao requests that the Court order a new trial.

       A.         Legal Standards

       Fed. R. Crim. P. 29(a) provides that “[a]fter the government closes its evidence or after

the close of all the evidence, the court on the defendant’s motion must enter a judgment of

acquittal of any offense for which the evidence is insufficient to sustain a conviction.” The rule

permits the court to reserve decision on a Rule 29 motion and decide it “after [the jury] returns a

verdict of guilty.”85 When the court reserves decision, “it must decide the motion on the basis of

the evidence at the time the ruling was reserved.”86 Because Tao renewed his motion for

judgment of acquittal at the close of the defense’s case and after the jury returned a verdict, the

Court considers all the evidence presented at trial.




       83
            Trial Tr. Day 3 at 142:25
       84
            Id. at 142:24–25.
       85
            Fed. R. Crim. P. 29(b).
       86
            Id.




                                                 25
         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 26 of 61




         A defendant who challenges the sufficiency of the evidence after a conviction “bears a

heavy burden.”87 In ruling on a motion for judgment of acquittal, the court asks “only whether,

taking the evidence—both direct and circumstantial, together with reasonable inferences to be

drawn therefrom—in the light most favorable to the government, a reasonable jury could find the

defendant guilty beyond a reasonable doubt.”88 In so doing, the court does not weigh

“conflicting evidence or the credibility of witnesses.”89 “But even under this deferential

standard,” the court will enter a judgment of acquittal “if the evidence does no more than raise a

mere suspicion of guilt or requires piling inference upon inference to conclude the defendant is

guilty.”90 “While the jury may draw reasonable inferences from direct or circumstantial

evidence,” inferences cannot be based on mere “speculation and conjecture.”91 And “[t]he

evidence supporting the conviction must be substantial.”92

         Under Rule 33(a), “the court may vacate any judgment and grant a new trial if the interest

of justice so requires.” When considering a Rule 33 motion, courts are generally “free to weigh

the evidence and assess witness credibility.”93 But the Tenth Circuit has held that “[s]ufficiency-

of-the-evidence challenges made in a Rule 29 or Rule 33 motion are adjudicated and reviewed

under the same standard.”94 While courts have greater discretion under Rule 33 than Rule 29, “a


         87
              United States v. Almaraz, 306 F.3d 1031, 1040 (10th Cir. 2002).
         88
           United States v. Baldridge, 559 F.3d 1126, 1134 (10th Cir. 2009) (quoting United States v. Beers, 189
F.3d 1297, 1301 (10th Cir. 1999)).
         89
              United States v. Tennison, 13 F.4th 1049, 1059 (10th Cir. 2021)
         90
           United States v. Cordova, 25 F.4th 817, 824 (10th Cir. 2022) (alteration in original) (quoting United
States v. Dewberry, 790 F.3d 1022, 1028 (10th Cir. 2015)).
        91
           United States v. Dewberry, 790 F.3d 1022, 1028 (10th Cir. 2015) (United States v. Arras, 373 F.3d 1071,
1073 (10th Cir. 2004)).
         92
          United States v. Valadez-Gallegos, 162 F.3d 1256, 1262 (10th Cir. 1998) (citing United States v. Taylor,
113 F.3d 1136, 1144 (10th Cir. 1997)).
         93
              United States v. Quintanilla, 193 F.3d 1139, 1146 (10th Cir. 1999).
         94
              Dewberry, 790 F.3d at 1028.




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         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 27 of 61




motion for new trial is regarded with disfavor”95 and should be granted “only in exceptional

circumstances in which the evidence preponderates heavily against the verdict.”96

        B.         Wire Fraud Counts

        Tao challenges his wire fraud convictions in Counts 4, 6, and 7. To secure the wire fraud

convictions, the Government had to prove the following elements: “(1) a scheme or artifice to

defraud or obtain property by means of false or fraudulent pretenses, representations, or

promises, (2) an intent to defraud, and (3) use of interstate wire or radio communications to

execute the scheme.”97 Tao argues that the Government failed to prove any of these elements at

trial. Because it is dispositive here, the Court reaches only the question of whether the

Government presented sufficient evidence to prove the first element—the existence of a scheme

to defraud.

        The Indictment alleges that Tao devised a scheme to defraud and obtain money and

property. As fully explained hereafter, when viewed in the light most favorable to the

Government, the evidence did not prove that Tao obtained money or property. Rather, the

evidence merely proved that Tao continued to receive his full-time salary from KU, keep access

to his research laboratory there, and receive disbursements of federal grant funds for research

from DOE and NSF already awarded to KU. Viewing the evidence in the light most favorable to

the Government, no reasonable jury could find that Tao’s conduct, however deceitful, amounted

to a scheme to deprive KU, DOE, or NSF of money or property.




        95
             Quintanilla, 193 F.3d at 1146.
        96
             United States v. Evans, 42 F.3d 586, 593 (10th Cir. 1994) (citation omitted).
        97
           United States v. Zander, 794 F.3d 1220, 1230–31 (10th Cir. 2015) (quoting United States v. Ransom, 642
F.3d 1285, 1289 (10th Cir. 2011)).




                                                           27
         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 28 of 61




                    1.       Scheme to Defraud: The Federal Wire Fraud Statute

        The wire fraud statute makes it a crime to effect with use of wires “any scheme or artifice

to defraud, or for obtaining money or property by means of false or fraudulent pretenses,

representations, or promises.”98 Construing the statute’s “disjunctive language as a unitary

whole,” the Supreme Court has held that “the money-or-property requirement of the latter

phrase” limits the former.99 “The wire fraud statute thus prohibits only deceptive ‘schemes to

deprive [the victim of] money or property.’”100 And that deprivation “must play more than some

bit part in a scheme: It must be an ‘object of the fraud.’”101 So to prove a scheme to defraud, the

Government must “show not only that [the defendant] engaged in deception, but that an ‘object

of the fraud was property.’”102

                    2.       Scheme to Defraud: Inducement/Benefit of Bargain Theory

        Tao argues that the Government failed to prove that he deprived KU, NSF or DOE of

money or property because he never induced them to enter into a bargain they would have

otherwise avoided, and that they received the so-called benefit of their bargain. Tao maintains

that the evidence showed that he fully performed his research obligations to KU, NSF, and DOE

even during the spring 2019 semester when he had a buyout of his teaching responsibilities.

        The Government claims that Tao’s scheme nonetheless deprived KU, DOE, and NSF of

money or property because his deceitful conduct fraudulently induced them to give him his




        98
             18 U.S.C. § 1343.
        99
           Kelly v. United States, 140 S. Ct. 1565, 1571 (2020) (quoting McNally v. United States, 483 U.S. 350,
358 (1987)); see also United States v. Zar, 790 F.3d 1036, 1050 (10th Cir. 2015).
        100
              Kelly, 140 S. Ct. at 1571 (alteration in original) (quoting McNally, 483 U.S. at 358).
        101
              Id. at 1573 (quoting Pasquantino v. United States, 544 U.S. 349, 355 (2005)).
        102
              Id. at 1571 (alterations omitted) (quoting Cleveland v. United States, 531 U.S. 12, 26 (2000)).




                                                            28
         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 29 of 61




salary, access to his laboratory at KU, and federal grant funds.103 Relying on the Tenth Circuit’s

decision in United States v. Richter,104 the Government contends that whether Tao performed the

services expected of him is not dispositive, so long as Tao deprived KU, NSF or DOE of money

or property by fraudulently inducing them to provide him his salary, access to his laboratory and

federal grant funds.

         In contrast, Tao’s benefit-of-the-bargain argument relies upon nonbinding decisions:

United States v. Takholov,105 an Eleventh Circuit decision involving bar owners who were

charged with fraudulently luring businessmen into their establishments,106 and two recent district

court decisions in which professors were acquitted of wire fraud charges stemming from their

hiding their Chinese affiliations while seeking and working on federal grants.107

         In Richter, the Tenth Circuit joined the Fourth, Seventh, and Eighth Circuits in holding

that the property fraud statutes reach deceptive schemes to induce a party into entering a contract

it would not enter if it had been told the truth—even when the defendant performs the agreed




          103
              The Government asserted for the first time in posttrial briefing that Tao also deprived KU of its right to
Nguyen’s time and labor by directing Nguyen to assist him in building a laboratory at FZU. This was neither
alleged in the Indictment nor proven at trial. While Nguyen testified that he tried to help Tao build a laboratory at
FZU, there is no evidence that Nguyen obtained quotes on equipment or performed any other activities related to
this effort while on the clock at KU.
         104
               796 F.3d 1173 (10th Cir. 2015).
         105
            827 F.3d 1307, 1315 (11th Cir. 2016) (revisiting the definition of “scheme to defraud” and holding that
none exists when the alleged “victims ‘receive . . . exactly what they paid for.’” (quoting United States v. Shellef,
507 F.3d 82, 108 (2d Cir. 2007))), opinion modified on denial of reh’g, 838 F.3d 1168 (11th Cir. 2016)).
         106
            To the extent Takhalov holds that the property fraud statutes do not criminalize fraud-in-the-inducement
schemes, it is at odds with Richter.
         107
             See United States v. Hu, No. 3:20-CR-21-TAV-DCP-1, 2021 WL 4130515, at *13 (E.D. Tenn. Sept. 9,
2021) (finding acquittal of professor was warranted because even if he had deceived NASA about his affiliation with
a Chinese university, the deception did not go to the nature of the bargain as NASA received exactly the type of
research that it bargained for); United States v. Xiao, No. 21-40039 (S.D. Ill. May 3, 2020), Tr. of Ruling on Rule 29
Mot. filed at Doc. 290-2 (orally granting defendant’s Rule 29 motion for acquittal because though there was
evidence of deceit, the benefits reasonably anticipated by NSF matched what defendant delivered or intended to
deliver in research).




                                                           29
         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 30 of 61




services.108 In these cases, the defendant’s deceptive conduct results in a property deprivation

“in the very elementary sense” that the victim’s money goes to someone who would not have

received it had the victim known the truth.109 As the Tenth Circuit explained, “payments made

in exchange for services provided under a contract induced by false pretenses, even where the

services are performed, constitute a deprivation of money or property sufficient to invoke the

federal fraud statute.”110 The Government asserts that this is what happened here. But, as more

fully explained below, the principles announced in these cases lead to one conclusion––Tao’s

conduct did not constitute a scheme to defraud, because no reasonable jury could have concluded

that he induced either DOE, NSF, or KU to give him money or property that it would not have

had it known the truth, and DOE, NSF and KU received all that they bargained for.

         In Richter two executives of a waste removal and recycling business promised customers

that the company would recycle or destroy their electronic waste domestically, completely, and

in a lawful and environmentally sound manner.111 Despite these promises, the company

exported e-waste to Hong Kong and China.112 “The heart of the government’s fraud case [wa]s

that . . . customers, relying on such representations, paid the defendants to dispose of their e-

waste in a particular way—lawfully, domestically, and completely—but did not get the benefit of

that bargain because [the company] unlawfully exported e-waste.”113




          108
              Richter, 796 F.3d at 1194 (first citing United States v. Leahy, 464 F.3d 773 (7th Cir. 2006); then citing
United States v. Bunn, 26 F. App’x 139 (4th Cir. 2001); and then citing United States v. Granberry, 908 F.2d 278
(8th Cir. 1990)).
         109
               Id. (quoting Granberry, 908 F.2d at 280).
         110
               Id. at 1192.
         111
               Id. at 1178–79.
         112
               Id. at 1179.
         113
               Id. at 1191–92.




                                                           30
         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 31 of 61




         On appeal, the defendants argued that there was no deprivation of money because “the e-

waste removal services that were paid for were actually performed,” even if “the services were

not performed in a particular way.”114 Rejecting this argument, the Tenth Circuit held:

                     [The] customers paid to have their e-waste disposed in accordance
                     with the defendants’ factual representations, which were material
                     to the customers’ decisions. A reasonable trier of fact could
                     conclude the customers were induced to pay for services under
                     false pretenses: the pretenses that their e-waste would be
                     completely destroyed, in the United States, in a lawful and
                     environmentally sound manner.115

The Tenth Circuit concluded that the customers were “deprived of their money in the very

elementary sense that [their] money ha[d] gone to [a company that] would not have received it if

all the facts had been known.”116 In so holding, the Tenth Circuit observed that, under similar

circumstances, the Fourth, Seventh, and Eighth Circuits had “held that payments made in

exchange for services provided under a contract induced by false representations, even where the

services are performed, constitute a deprivation of money or property sufficient to invoke the

federal fraud statutes.”117

         In United States v. Granberry, the defendant lied about his murder conviction to obtain a

school bus operator’s permit, and then lied about it again to obtain employment as a bus driver

with a Missouri school district.118 A grand jury indicted him for mail fraud.119 The indictment

alleged that “[i]f the conviction had been known, the State would not have issued him a license,



         114
               Id. at 1192.
         115
               Id.
         116
               Id. at (alterations in original) (quoting Granberry, 908 F.2d 278, 280 (8th Cir. 1990)).
         117
           Id. (first citing United States v. Leahy, 464 F.3d 773 (7th Cir. 2006); then citing United States v. Bunn,
26 F. App’x 139 (4th Cir. 2001); and then citing Granberry, 908 F.2d at 279–80).
         118
               Granberry, 908 F.2d at 279.
         119
               Id.




                                                             31
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 32 of 61




nor would the School District have hired him.”120 Seeking to dismiss the indictment, the

defendant argued that he did not deprive the school district of money or property because the

district got what it paid for––“a competent school-bus driver.”121 The defendant also noted that

the school district would have paid the same amount of money to another driver had it not hired

him. The Eighth Circuit rejected the defendant’s argument, holding:

                   What the School District wanted was a competent school-bus
                   driver who was truthful and had not been convicted of a felony,
                   and this is not what it got. The School District has been deprived
                   of money in the very elementary sense that its money has gone to a
                   person who would not have received it if all of the facts had been
                   known.122

The court also concluded that the school district had been deprived of property because the

school district had the right to control how to spend its money, and the defendant’s

misrepresentations induced it to part with that money under false pretenses.123

       And United States v. Bunn124 and United States v. Leahy125 both involved defendants

convicted of fraud for making “false representations to attain government contract[s]” to which

they were not entitled.126 In Bunn, a contractor used disadvantaged business enterprises

(“DBEs”) as “fronts” on bids for highway construction projects in West Virginia to circumvent

federal and state DBE requirements.127 The defendants argued that because “the subcontract




       120
             Id.
       121
             Id. at 280.
       122
             Id.
       123
             Id.
       124
             26 F. App’x 139 (4th Cir. 2001).
       125
             464 F.3d 773 (7th Cir. 2006).
       126
             United States v. Richter, 796 F.3d 1173, 1193 (10th Cir. 2015).
       127
             Bunn, 26 F. App’x at 141.




                                                         32
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 33 of 61




work was performed satisfactorily,” there was no deprivation of money.128 The Fourth Circuit

rejected the argument, concluding: “The Government’s evidence established that [the

defendants] obtained money to which they were otherwise not entitled by falsely representing

that subcontract work would be performed by DBEs. Nothing more is required.”129

       Similarly, the defendants in Leahy were convicted of mail and wire fraud arising out of a

scheme “to cheat the City of Chicago out of funds slotted for minority- and women-owned

businesses.”130 Seeking to take advantage of the Chicago ordinance, one of the defendants, a

white man, gave the city the false impression that his mother and a black man ran his

businesses.131 Through his fraud scheme, that defendant won lucrative contracts with the City.132

On appeal, the defendants argued that the indictment could not support the convictions because

they “fulfilled their obligations under the relevant contracts or subcontracts.”133 The Seventh

Circuit disagreed, concluding that the city suffered a property deprivation “in that it paid for

services provided by [a minority-owned business] or [women-owned business] that it did not

receive,” and the contracts at issue “would not have been awarded in the absence of the

[minority-owned/women-owned business] certifications obtained through fraud.”134

       In sum, Richter, Granberry, Bunn, and Leahy all hold that a defendant schemes to

deprive another of money or property when the defendant’s deceitful conduct induces a party

into entering a contract that it would not enter if it knew the truth––even if the defendant



       128
             Id. at 142.
       129
             Id. at 142–43.
       130
             Leahy, 464 F.3d at 778.
       131
             Id. at 779–81.
       132
             Id. at 781.
       133
             Id. at 787.
       134
             Id. at 788–89.




                                                 33
         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 34 of 61




performs satisfactorily under that contract. The fact that the victim receives the services it paid

for does not mean that it received all that it bargained for.

        Unlike in Richter, Granberry, Bunn, and Leahy, the evidence, together with all

reasonable inferences drawn in favor of the Government, does not permit any reasonable jury to

conclude that Tao’s deceit induced DOE, NSF, or KU to contract with him.

                          a.       Inducement—DOE and NSF Grant Awards

        There was insufficient evidence to allow a reasonable jury to find that DOE or NSF

would not have awarded the grant funds at issue had Tao told the truth. Dr. Schwartz of DOE

and Dr. Keiser of NSF both testified that the federal agencies have no policy prohibiting

principal investigators from having foreign academic appointments or participating in foreign

talent programs. To be sure, NSF would have wanted to know about Tao’s affiliation with and

activities at FZU,135 and both NSF and DOE would have wanted to know if Tao had any foreign

research support. Dr. Keiser and Dr. Schwartz testified that the federal agencies would have

used the information to assess Tao’s capacity and potential overlap or duplication. But neither

Dr. Keiser nor Dr. Schwartz testified that the agencies would have determined, or even would

have likely determined, that there were capacity, overlap, or duplication issues that meant the

scope or amount of the grants required adjustment or that the grants should not have been

awarded at all.

        The Government argues that Tao’s deceit prevented KU from assessing whether his

foreign activities posed a conflict of interest that needed to be managed. Both DOE and NSF

expected KU to manage principal investigators’ conflicts of interest, and NSF specifically



        135
            This information was not relevant to DOE. Dr. Schwartz testified that whether Tao had a second job at
another university or was promised funding to build a laboratory in China was not “of [her] concern.” Trial Tr. Day
6 at 11:9–14.




                                                        34
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 35 of 61




required KU to manage, reduce, eliminate, or disclose conflicts in accordance with KU policy

before the expenditure of award funds. The Government points to Alicia Reed’s testimony that,

if she had known about Tao’s work at FZU, she would not have submitted the grant proposals to

fund his research “as is” to the agencies.136

       But the evidence was that KU submitted all the grant proposals at issue before Tao was

even selected as a Changjiang Scholar in January 2018. Moreover, neither Reed nor any other

witness from KU testified or suggested that Tao’s foreign affiliation and activities presented, or

likely presented, a conflict of interest that would have led KU to not submit his grant proposals

to DOE or NSF or to prohibit him from working on the grants once awarded. KU would have

simply put a management plan in place. Thus, there is no evidence that Tao fraudulently induced

DOE or NSF to award grant funds.

                            b.         Inducement—KU Employment of Tao

       There is also no evidence that Tao induced KU to enter into an employment contract with

him. The reason is simple: KU hired Tao in 2014––several years before the Government

claimed the scheme began. As more fully discussed below,137 the Court is not convinced that

Richter can be read more broadly to support the proposition that the wire fraud statute also

covers schemes to maintain a pre-existing contractual right like a salary. But even if it could, the

evidence was insufficient to allow a reasonable jury to conclude that KU would have fired Tao or

revoked his access to KU facilities and equipment had he told the truth.

       The Government asserts that if Tao had told the truth, KU “would have needed to decide

whether to restrict his access to federal funds, convert him to a part-time employee, or terminate



       136
             Trial Tr. Day 3 at 54:5–10.
       137
             See infra Part III.B.4.




                                                    35
         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 36 of 61




his employment.”138 The Government cites no evidence supporting that assertion, and the Court

cannot find any such evidence in the trial record. While the Government points to the testimony

of Angie Loving from KU Human Resources, she testified that KU employees do not get fired

for having conflicts of interest. Instead, Loving explained, if a conflict of interest is disclosed,

the matter “go[es] to the director of research integrity,” who then “review[s] the conflict of

interest stated” and “work[s] through steps to determine if that conflict could be managed or not

with the terms of their employment.”139 Only if the conflict cannot be managed––and the

employee refuses to abandon the unmanageable conflict––can the employee “potentially” be

referred to Human Resources, but only “[i]f it meant that their employment could not continue

because of that conflict.”140 Reed similarly testified that having a conflict does not make a

faculty member ineligible to work at KU or to do research there; the conflict “just . . . ha[s] to

[be] managed so that there’s not the appearance of that conflict.”141 The Government called

multiple witnesses from KU at trial, and not one testified or suggested that if Tao had disclosed

his foreign affiliation and activities, KU would have terminated his employment, converted him

to a part-time employee, or revoked his access to KU’s research facilities and equipment.142

                             c.       Benefit of Bargain—Research for DOE and NSF

         As a fallback argument, the Government contends that even if it needed to prove that

DOE, NSF, and KU did not receive what they bargained for, the evidence still supports his


         138
               Doc. 302 at 52.
         139
               Trial Tr. Day 2 at 124:4–9.
         140
               Id. at 124:10–16.
         141
               Id. at 162:17–20.
         142
            The Government notes that when KU learned about the allegations in this case, it immediately placed
Tao on administrative leave to investigate, and terminated his access to its facilities and equipment. But the fact that
KU placed Tao on administrative leave pending an internal investigation after he was indicted on federal criminal
charges is not evidence that, had Tao told KU about FZU in the first place, KU would have terminated his
employment.




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         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 37 of 61




convictions. The Court disagrees. The evidence presented at trial showed that all three received

what they bargained for.

         DOE awarded KU grant funds in exchange for the research Tao had proposed. And there

is no evidence that Tao did not carry out that research as proposed to DOE’s satisfaction. On the

contrary, Dr. Schwartz agreed that “the research got done” and that “it appeared to have been

done satisfactorily.”143 She also praised Tao’s work internally to DOE in June 2019, more than a

year into Tao’s alleged scheme, and stated that Tao’s research “output [wa]s very good and

supportive of continued funding.”144 Based on DOE’s grant success metrics, Dr. Schwartz

viewed Tao’s research for DOE as a success. There is simply no evidence that DOE did not

receive the benefit of its bargain.

         Like DOE, NSF provided grant funds in exchange for the research Tao had proposed.

And there is no evidence that NSF did not receive what it bargained for. Dr. Keiser testified that

she was unaware of any allegations that Tao’s research for NSF was not performed precisely in

the manner prescribed. While she expressed some concern at the possibility that a researcher

who fails to disclose an affiliation and research support might perform NSF-funded research

using unapproved equipment, the Government never alleged, argued, or introduced any evidence

that Tao performed his research for NSF using unapproved equipment outside of KU.145 Dr.

Keiser also testified that she was unaware of any allegations that NSF funds were used to support



          143
              Trial Tr. Day 6 at 19:1–5. Agent Lampe also testified that he had no reason to believe that DOE was not
fully satisfied with his research.
         144
               Ex. 36.
         145
             Dr. Keiser also testified that NSF requests information about the “facilities, equipment, and other
resources” necessary for the research but already available to the researcher, because “if it’s already available” and
“it’s going to be used on the project, then we don’t need to provide funding for that as part of the NSF grant.” Id. at
228:10–19. The Government contends that “at no time did [Tao] tell anyone from NSF, as required, that he planned
to use any equipment or facilities outside of KU to work on his federal grants.” Doc. 302 at 20. But again, there is
no evidence that Tao used unapproved equipment in China to work on an NSF grant.




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         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 38 of 61




foreign organizations,146 and there is no evidence that any payments or expenditures made under

the NSF grants were improper. Moreover, in a June 2018 email to Tao, a program manager at

NSF wished him “continued success” on his research after reviewing and approving his progress

report.147 And the principal investigator on one NSF grant, Dr. Bala Subramaniam, testified that

Tao’s scholarly output on the grant was strong and that he was pleased with the quality of Tao’s

work. No jury could reasonably conclude that NSF did not get what it paid for.

                               d.     Benefit of Bargain—KU

         KU also received what it bargained for. Tellingly, in April 2019––almost a year into the

alleged scheme––Tao was one of four professors at KU to receive the University Scholarly

Achievement Award, in recognition of his significant research contribution. At the awards

ceremony, Dr. Girod lauded Tao’s accomplishments, noting that Tao had “far exceeded

expectations in his field in terms of his productivity and really his level of ingenuity.”148 Dr.

Girod also commended Tao for his external service and for developing a “world[-]class lab” and

“a very strong team” of researchers at KU.149 FBI Special Agent Stephen Lampe conceded at

trial that Tao’s recognition suggested he “was performing his job duties at [KU].”150 Dr.

Weatherley, Tao’s supervisor and department chair, testified that Tao was a solid faculty

member and that he had supported Tao’s nomination for the University Scholarly Achievement

Award. Tao’s wife, and Nguyen, one of Tao’s graduate students, testified that Tao never missed


         146
             Dr. Keiser testified that “it’s very important” for researchers to be “transparent about all parts of the
research,” including who they “collaborat[e] with, so that we can trust the research results and make sure we’re also
responsibly giving out research funding.” Trial Tr. Day 5 at 94:21–23. But the Government never alleged, argued,
or presented any evidence that Tao lied about any part of the research he did for NSF or collaborated with anyone in
China on his NSF research.
         147
               Ex. 154 at 1.
         148
               Trial Tr. Day 2 at 77:16–20.
         149
               Id. at 78:16–25.
         150
               Trial Tr. Day 11 at 111:4–11.




                                                         38
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 39 of 61




a day of work. Tao worked seven days a week, and except for Sundays, he typically worked

fourteen to sixteen-hour days. To Nguyen’s knowledge, Tao never took any vacations.

       The Government argues that the evidence showed that KU was not “fully satisfied with

his performance.”151 The Government points to Tao’s annual evaluations, in which Dr.

Weatherley noted that Tao had areas for improvement or further development, including

teaching, student advising, and faculty committee service. The Government also cites

communications between Dr. Weatherley and Tao showing that Tao missed a faculty retreat,

failed to timely submit paperwork for department accreditation, and failed to timely advise

undergraduate students.

       But Dr. Weatherley’s testimony discredits the Government’s argument. Tao, like most if

not all employees, had areas of strength and areas of needed development. And “like many

faculty,” Dr. Weatherley explained, Tao’s teaching fell in the latter category.152 Dr. Weatherley

testified that teaching, advising, and internal service were the areas Tao needed to develop “to

get a good strong case for promotion,” and that there was nothing unusual about Tao’s annual

evaluations.153 Indeed, providing feedback on a faculty member’s strengths and weaknesses in

an annual evaluation is “[v]ery common”; it is a purpose of the evaluation.154 It is also not

uncommon for faculty members to miss faculty retreats, and Dr. Weatherley saw nothing

unusual about Tao’s email stating he would not attend. To the extent Tao was dilatory in

submitting required paperwork for accreditation and advising undergraduate students, Dr.

Weatherley testified that after he contacted Tao about these matters, they were resolved. This



       151
             Doc. 302 at 40.
       152
             Trial Tr. Day 2 at 103:1.
       153
             Trial Tr. Day 3 at 110:23–111:7 (emphasis added).
       154
             Id. at 174:25–175:11.




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        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 40 of 61




evidence is insufficient to allow a jury to find that Tao did not provide KU with what it paid him

for.

       In sum, a reasonable jury could not conclude that, had Tao told the truth, he would not

have received his salary, access to KU facilities and equipment, or the federal grant funds. The

evidence was also insufficient to allow a reasonable jury to conclude that DOE, NSF, and KU

did not get what they bargained for.

                   3.       Scheme to Defraud: Risk of Loss to KU or NSF Theory

       The Government also asserts that by preventing KU from assessing whether his foreign

activities presented a conflict that needed to be managed or disclosed to NSF, Tao imposed a

substantial risk of loss on KU and NSF. The Government relies on United States v. Welch,155 but

that reliance is misplaced. The defendants in Welch were officers of the Salt Lake City Bid

Committee (“SLB”) for the 2002 Winter Olympic Games, a not-for-profit corporation.156 The

indictment alleged that the Committee had agreed to “act in accord with the [International

Olympic Committee’s (“IOC”)] instructions to candidate cities,” which prohibited bribery.157

Nonetheless, the defendants allegedly used SLBC funds to bribe members of the IOC into

choosing Salt Lake City to host the Winter Olympic Games.158 The bribes were allegedly worth

about $1 million.159 According to the indictment, neither the SLBC nor its contributors were

aware of the bribes.160




       155
             327 F.3d 1081 (10th Cir. 2003).
       156
             Id. at 1084.
       157
             Id. at 1085.
       158
             Id.
       159
             Id.
       160
             Id. at 1086.




                                                 40
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 41 of 61




       In challenging their wire fraud and mail fraud charges, the Welch defendants argued that

the indictment failed to allege a deprivation of money or property because SLBC’s funds were

used for their intended purpose––“to get the Games.”161 Indeed, the SLBC stood to benefit from

the defendant’s scheme to bring the Games to Salt Lake City through bribery. But this did not

help the defendants. The Tenth Circuit held:

                   Defendants, regardless of the end result, deprived the SLBC of its
                   funds at the time [they] allegedly obtained them for use under false
                   pretenses. In other words, Defendants deprived the SLBC of
                   property if their fraudulent conduct caused the SLBC to permit the
                   use of its funds in a manner which the SLBC, if cognizant of the
                   truth, would not have sanctioned.

                   Just as a borrower still commits bank fraud if he knowingly
                   provides or withholds from a bank materially false information to
                   induce a loan and then repays it, one still may commit mail or wire
                   fraud if he knowingly provides or withholds materially false
                   information which imposes a substantial risk of loss on another (in
                   this case for example, the SLBC’s possible loss of donors, tax-
                   exempt status, or even the Games) even if the risk does not
                   materialize. Fraudulent deprivation of another’s property is no less
                   fraudulent because it might or does result in a benefit to the
                   defrauded. Defendants’ alleged conduct in this case could have
                   just as easily ended in catastrophe for the SLBC.162

       As explained above, the evidence here is insufficient to allow a reasonable jury to find

that Tao’s deceitful conduct caused KU or NSF to allow him to use any funds that they would

not have allowed had he told the truth. Moreover, there is also no evidence that Tao’s conduct

imposed a risk of loss on KU or NSF. To be sure, NSF expects KU to maintain and enforce

conflict of interest policies. But NSF’s institutional interest is that the principal investigator has

the capacity to do the research, does the research, does not cause the agency to fund duplicative

or overlapping research, and is not entwined with some other entity or research that may raise


       161
             Id. at 1108.
       162
             Id.




                                                   41
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 42 of 61




questions about the integrity of the research. And the evidence presented at trial showed that

Tao had the capacity and in fact performed the research. There is also no evidence of any

overlap, duplication or conflict of interest that could have biased Tao’s research for NSF.

       To the extent the Government argues that Tao imposed a risk on KU because Tao’s

deceitful conduct put KU at risk of losing its eligibility for NSF funding, the evidence does not

support that argument. At trial, Alicia Reed forcefully denied the suggestion that Tao’s conduct

exposed KU to any risk:

               Q. . . . [I]f agencies think that your office isn’t doing a good job at
               [complying with federal funding requirements], KU could lose
               hundreds of millions of dollars; is that fair?

               A. True. But we are audited every year to ensure that we have
               controls in place, so I’m not concerned about them thinking we’re
               not doing a good job.

               Q. You weren’t concerned at all when the FBI came knocking and
               your office was under a microscope as to whether there were
               compliance issues and you were responsible?

               ....

               A. I think anybody would be concerned but we often work with
               auditors.

               Q. I’m talking about the FBI. . . .

               A. Honestly to me the FBI and auditors have very similar
               questions because they want to know if our controls are adequate
               and in this case I believe they are.

               ....

               Q. And fair to say that notwithstanding everything that’s been
               alleged against Dr. Tao . . . KU’s reputation is quite strong?

               ....

               A. I would agree.




                                                 42
         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 43 of 61




                    Q. In fact after the investigation, KU funding went up
                    dramatically several million dollars, tens of millions of dollars,
                    correct?

                    A. I do believe that we increased five places in the [NSF’s] HERD
                    survey, yes.163

In short, there is no evidence that Tao’s conduct put KU or NSF at any risk of loss.

                    4.        Legal Insufficiency of Salary Maintenance Theory

        Finally, the Court concludes that in addition to not being supported by sufficient

evidence, the Government’s salary maintenance theory was legally insufficient. The

Government argued to the jury that Tao concealed his involvement with FZU from KU so that

“he could continue to receive his salary.”164 Or, said another way, an object of Tao’s fraudulent

scheme, according to the Government, was to “keep his KU job.”165 Tao argues that the

Government’s salary maintenance theory of fraud is invalid because it is really an honest

services theory, contravening longstanding Supreme Court precedent.

        As the Government points out, Tao challenged the Government’s salary maintenance

theory in his motion to dismiss the Indictment, and this Court rejected the challenge.166 But at

the motion-to-dismiss stage, the Court ruled upon the sufficiency of the allegations in the

Indictment, not on the sufficiency of the evidence. For this reason, the Government’s argument

that this Court’s ruling is law of the case, is unavailing. The law of the case doctrine posits that,

generally, “when a court decides upon a rule of law, that decision should continue to govern the

same issues in subsequent stages in the same case.”167 The doctrine is a discretionary doctrine


        163
              Trial Tr. Day 3 at 63:15–65:3.
        164
              Trial Tr. Day 12 at 4:10–12.
        165
              Id. at 52:22.
        166
              See Doc. 99, pp. 7-11.
         167
             Dobbs v. Anthem Blue Cross & Blue Shield, 600 F.3d 1275, 1279–80 (10th Cir. 2010) (quoting Arizona
v. California, 460 U.S. 605, 618 (1983)).




                                                      43
         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 44 of 61




“designed to promote finality and prevent re-litigation of previously decided issues,” not a

jurisdictional bar.168 More importantly, “[o]nly final judgments may qualify as law of the

case.”169 This Court’s ruling on the motion to dismiss the Indictment was not a final judgment.

Moreover, to the extent the Court ruled on issues raised in Tao’s motion to dismiss, the Court is

free to revisit them here in assessing the sufficiency of the evidence presented at trial.

        Notably, certain allegations in the Indictment were not borne out by the evidence. The

Indictment alleged that Tao’s scheme to defraud deprived DOE and NSF of research grant

money. But the evidence showed that DOE and NSF awarded the subject grants before Tao

obtained the Changjiang Scholar award and before he went to FZU. Further, the Indictment

alleged that Tao’s scheme to defraud deprived KU of his salary. But the evidence showed that

Tao merely maintained his pre-existing KU salary; and there was no evidence suggesting that he

did not earn that salary during the buy-out semester when he was at FZU. In fact, the evidence

showed that other than his teaching duties, which had been duly bought-out, Tao continued to

satisfy KU, DOE, and NSF with his prolific and productive research during the spring and

summer of 2019.

        In the order denying Tao’s motion to dismiss, this Court declined, absent controlling

Tenth Circuit law, to draw the distinction made in some unpublished decisions from district

courts in the First Circuit, that mere maintenance of a preexisting salary or employment was

legally infirm but obtaining a new position, or an increase in salary or the payment of a bonus

could be sufficient to satisfy the “money or property” element of the wire fraud statute.170 In any


        168
            Rimbert v. Eli Lilly & Co., 647 F.3d 1247, 1251 (10th Cir. 2011) (citing Wilson v. Meeks, 98 F.3d 1247,
1250 (10th Cir. 1996)); see also Pepper v. United States, 562 U.S. 476, 506 (2011).
        169
           In re Unioil, Inc., 962 F.2d 988, 993 (10th Cir. 1992); United States v. Bettenhausen, 499 F.2d 1223,
1230 (10th Cir. 1974).
        170
           Doc. 99 at 9 (first citing United States v. Billmyer, Nos. CRIM 94-29-01-JD, CRIM 94-29-03-JD, CRIM
94-29-04-JD, 1995 WL 54471, at *9 (D.N.H. Feb. 3, 1995), aff’d sub nom United States v. Joselyn, 99 F.3d 1182



                                                        44
         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 45 of 61




event, it is now clear that the wire fraud counts in this case rest on Tao continuing to receive his

pre-existing salary, and on grants that were awarded before the alleged scheme commenced. In

light of the evidence, the Court agrees with Tao, that the government’s theory of salary

maintenance is indeed infirm.

         Recent case law provides helpful guidance. In United States v. Yates,171 the Government

charged bank executives with conspiracy to commit bank fraud for concealing their bank’s

financial condition, and argued at trial that the defendants’ fraudulent scheme aimed to deprive

the bank of their salaries and bonuses. 172 The Ninth Circuit rejected the claim:

                     Of course, salaries and “other financial employment benefits” are
                     both forms of “money.” If obtaining a new job or a higher salary
                     is the object of a defendant's fraudulent scheme, then the
                     deprivation of that salary can in some circumstances support a
                     fraud conviction.

                     But there is a difference between a scheme whose object is to
                     obtain a new or higher salary and a scheme whose object is to
                     deceive an employer while continuing to draw an existing salary—
                     essentially, avoiding being fired. The history of the Supreme
                     Court’s treatment of fraud in the employment context demonstrates
                     why that distinction matters.173

         Before the Supreme Court’s decision in McNally v. United States,174 courts interpreted

the federal fraud statutes to criminalize schemes to defraud another of the intangible right of

honest services.175 Honest services prosecutions typically involved bribery and kickback


(1st Cir. 1996); and then citing United States v. Facteau, No. 1:15-cr-10076-ADB, 2016 WL 4445741, at * 10 (D.
Mass. Aug. 22, 2016)).
         171
               16 F.4th 256 (9th Cir. 2021).
         172
           Id. at 263. The Supreme Court has construed the wire, mail, and bank fraud statutes similarly. See
Neder v. United States, 527 U.S. 1, 20–21 (1999).
         173
               Yates, 16 F.4th at 266 (quoting United States v. Ratcliff, 488 F.3d 639, 644 (5th Cir. 2007)) (citations
omitted)).
         174
               483 U.S. 350 (1987).
        175
            See Skilling v. United States, 561 U.S. 358, 401 (2010) (“[B]y 1982, all Courts of Appeals had embraced
the honest-services theory of fraud.” (citation omitted)).




                                                             45
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 46 of 61




schemes, but an employee’s breach of duty to their employer also could constitute honest

services fraud: “The actual deception [there] . . . is in the continued representation of the

employee to the employer that he is honest and loyal to the employer’s interest.”176

       McNally “stopped the development of the intangible-rights doctrine in its tracks.”177

“Rather than constru[ing] the statute[s] in a manner that leaves [their] outer boundaries

ambiguous and involves the Federal Government in setting standards of setting disclosure and

good government for local and state officials,” the Supreme Court read the fraud statutes “as

limited in scope to the protection of property rights.”178 Justice Stevens, dissenting in McNally,

argued that deprivations of the intangible right of honest services could be recharacterized as

deprivations of money or property, because “[w]hen a person is being paid a salary for his loyal

services, any breach of that loyalty would appear to carry with it some loss of money to the

employer—who is not getting what he paid for.”179

       The Government’s salary maintenance theory of fraud here echoes Justice Stevens’s

dissent in McNally. The theory goes something like this: Tao deprived his employer of money

because KU paid him a salary for his loyal services, and he breached that loyalty through fraud

by concealing his affiliation with another university. But as the United States District Court for

the District of Columbia recently explained in Guertin:

                   [T]hat’s just private-sector honest-services fraud––a case in which
                   the employee’s criminal conduct arises out of his ‘continued
                   representation . . . to the employer that he is honest and loyal to the
                   employer’s interests.’ True, the alleged breach of duty is different
                   here—[the defendant] violated a contractual duty of honesty, not a
                   fiduciary duty of honesty—but the alleged deprivation arising out

       176
             United States v. Procter & Gamble Co., 47 F. Supp. 676, 678 (D. Mass. 1942).
       177
             Skilling, 561 U.S. at 401.
       178
             Id. at 402 (quoting McNally, 483 U.S. at 360).
       179
             McNally, 483 U.S. at 377 n.10 (Stevens, J., dissenting).




                                                          46
         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 47 of 61




                     of that breach is the same. In either case, the victim’s deprivation
                     is the loss of the employee’s bargained-for loyal services.180

         To allow the Government to recast fraudulent schemes to deprive an employer of honest

services as ones to deprive the employer of the employee’s pre-existing salary would “let in

through the back door the very prosecution theory that [the Supreme Court] tossed out the

front.”181 “In almost every honest-services prosecution the defendant receives a salary from the

victim of the fraud (an employer/governmental agency).”182 If the Government could call it

property fraud just by pointing to the employee’s pre-existing salary, the Court would sanction

an end-run around McNally.183 This Court would also give prosecutors a weapon to “criminalize

a wide range of commonplace conduct.”184

         This conclusion finds support in the plain text of the statute, too. Section 1343 proscribes

schemes “for obtaining money or property.” “Obtain” and “maintain” are not synonyms. To

“obtain” is “[t]o bring into one’s own possession; to procure, esp. through effort.”185 By

contrast, to “maintain” is “[t]o continue in possession of,”186 connoting “action to preserve the




         180
            United States v. Guertin, 581 F. Supp. 3d 90, 96 (D.D.C. 2022) (quoting Procter & Gamble Co., 47 F.
Supp. at 678) (citing United States v. Yates, 16 F.4th 256, 267 (9th Cir. 2021)).
         181
            Yates, 16 F.4th at 267 (quoting United States v. Ochs, 842 F.2d 515, 527 (1st Cir. 1988)); Guertin, 581
F. Supp. 3d at 96.
         182
               Guertin, 581 F. Supp. 3d at 96.
         183
               See id.
         184
             Yates, 16 F.4th at 267 (citing McDonnell v. United States, –U.S.–, 136 S. Ct. 2355, 2373 (2016)); see
Skilling v. United States, 561 U.S. 358, 402–03 (2010) (“To satisfy due process, a penal statute must define the
criminal offense [1] with sufficient definiteness that ordinary people can understand what conduct is prohibited and
[2] in a manner that does not encourage arbitrary and discriminatory enforcement.” (quoting Kolender v.
Lawson, 461 U.S. 352, 357 (1983)).
         185
               Obtain, Black’s Law Dictionary (11th ed. 2019).
         186
               Id.




                                                          47
         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 48 of 61




status quo.”187 Plainly, then, § 1343 requires that the “defendant’s scheme sought to gain

possession of something not previously in his possession.”188

        Although the Government argued that Tao sought to “obtain” his salary, this usage does

not fit the ordinary meaning of the word: “It is a contradiction in terms to say a defendant’s

scheme enables him to ‘obtain’ a pre-existing contractual right like a ‘continued salary.’ The

only way to make sense of that contradiction would be to ignore the active, affirmative

connotations of the word ‘obtain.’”189 The Court will not do that.190 For these reasons, the Court

finds that the Government’s salary maintenance theory was legally insufficient.

        The Government asserts that, even if the Court rejects the salary maintenance theory, it

still presented a valid salary theory of fraud because Tao obtained: (1) a summer salary, to which

he had no pre-existing contractual right; (2) the $10,000 “bonus” prize that came with his

University Scholarly Achievement Award in 2019; (3) leave and sick time; and (4) his spring

2019 buyout. The Court rejects the Government’s eleventh-hour theories of fraud. These

theories were neither alleged in the Indictment nor argued at trial, and the Court cannot assume

that the jury convicted on theories that were never presented to them. But even if the

Government had properly alleged and argued these theories, they find no support in the evidence.

        First, there is no evidence that Tao made a material misrepresentation to obtain his

summer salary. The summer salary was funded by DOE and NSF, and neither KU nor Tao had

discretion on whether the funds would be disbursed to him because they were budgeted as part of


        187
              Guertin, 581 F. Supp. 3d at 92–93.
        188
              Id. at 92.
        189
              Id. (“The Government relies on tortured semantics . . . .”).
        190
            See id.; cf. Asgrow Seed Co. v. Winterboer, 513 U.S. 179, 187 (1995) (“When terms used in a statute are
undefined, we give them their ordinary meaning.”). If any doubt remained about whether the word “obtaining” as
used in § 1343 can be read to mean “maintaining,” the Court would resolve that ambiguity in favor of lenity. See
Yates v. United States, 574 U.S. 528, 547–48 (2015).




                                                            48
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 49 of 61




his grants. And, as explained above, there is no evidence that Tao, who performed all the

research required of him, fraudulently induced anyone into giving him grant funds that he would

not have received had he told the truth.

       Second, Tao did not deprive KU of the $10,000 prize that came with the University

Scholarly Achievement Award. The Government points out that “[c]uriously, despite the

Changjiang Distinguished Professor position’s prestige, [Tao] did not mention it in his

nominating letter.”191 But there is no evidence that Tao would not have received the award had

he mentioned it. In fact, even when the Government directly questioned Dr. Girod on this issue

at trial, Dr. Girod did not testify that the information would have had any effect on whether Tao

received the award. Dr. Girod merely said that the information would have been relevant to

KU’s “conflict process,” under which KU would “determine . . . whether that was advantageous

to the university, and if so how we would resolve conflicts of time and other things.”192

       Third, Tao did not fraudulently obtain leave and sick time. As an initial matter, Angie

Loving testified that faculty do not earn vacation leave and that KU does not give faculty

members paid time off. And the Government presented no evidence that Tao fraudulently

obtained sick time to which he was not entitled.

       Finally, there is no evidence Tao fraudulently obtained the buyout. Tao represented in

his buyout request that the proposed FZU subaward contract would fund the buyout. He also

represented that he would work on that collaborative project, as well as on his DOE and NSF

research, the semester of the buyout. But the FZU subaward contract was still in negotiations at

the time, and Dr. Weatherley did not condition his approval of the buyout on the contract



       191
             Doc. 302 at 22.
       192
             Trial Tr. Day 2 at 60:20–61:6.




                                                49
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 50 of 61




materializing. What’s more, Dr. Weatherley expressly rejected the Government’s suggestion

that if the contract with FZU fell through, there would be no funds to cover the buyout. The

Government asked Dr. Weatherley: “[I]f [the proposed contract with FZU] wasn’t entered into,

there would be no source of funding for a buyout, would there?”193 Dr. Weatherley responded

that, actually, there would be, because Tao had a “significant portfolio, so he would have had

access to overhead for those grants or he could have paid maybe some of his own salary in that

way to buy out.”194 Dr. Weatherley was therefore never “too concerned” about where the funds

to cover the buyout would come from.195 Tao ultimately chose to fund the buyout with an NSF

grant, and there is no evidence that this was improper. Indeed, Jane Johns testified that it was

Tao’s “call which funding he was going to use” for the buyout, and she saw no issue with him

selecting an NSF grant because he had those funds available to him.196

       Tao clearly engaged in deceitful conduct. But the Government did not prove that Tao’s

efforts to conceal his affiliation with or activities at FZU University amounted to a scheme to

deprive KU, DOE, or NSF of money or property. The Court therefore grants Tao’s motion for

judgment of acquittal on the wire fraud counts.

       C.          False Statement Count

       Tao next challenges the sufficiency of the evidence to support his conviction on Count 9,

which charged a violation of 18 U.S.C. § 1001. Count 9 alleged that, “through his submission of

an Institutional Responsibilities form” on September 25, 2018:

                   Dr. Tao falsely represented to the [KU], an institution that
                   requested and received funds from [DOE] and [NSF], that he had

       193
             Trial Tr. Day 3 at 206:1–2.
       194
             Id. at 206:36.
       195
             Id. at 142:24–25.
       196
             Id. at 231:5–6.




                                                  50
         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 51 of 61




                   no conflicts of time or interest; when in truth, as Dr. Tao then
                   knew, he was affiliated with [Fuzhou University] as a Chang Jiang
                   Distinguished Professor and was receiving financial and other
                   benefits, which he had a duty to disclose.197

        Section 1001 is a “sweeping” statute that prohibits lying to the federal government.198

The statute criminalizes making a false statement “in any matter within the jurisdiction of the

executive, legislative, or judicial branch of the Government of the United States.”199 To support

a conviction for making a false statement under § 1001(a)(2), the Government must prove five

elements beyond a reasonable doubt: “(1) the defendant made a statement; (2) the statement was

false, fictitious, or fraudulent as the defendant knew; (3) the statement was made knowingly and

willfully; (4) the statement was within the jurisdiction of the federal agency; and (5) the

statement was material.”200 The Court finds that the jury had sufficient evidence to convict on

Count 9.

                   1.       Jurisdiction

        Tao contends that the KU Institutional Responsibilities form was not a matter within the

jurisdiction of NSF or DOE because neither agency has the authority to review the form, much

less the power to exercise authority over employee submissions of this form to KU. The Court

rejected this argument at the motion to dismiss stage, and for largely the same reasons, the Court

rejects it again.




        197
              Doc. 278 at 6–7 (Jury Instructions); see also Doc. 75 ¶ 44 (Second Superseding Indictment).
        198
              United States v. Rodgers, 466 U.S. 475, 479 (1984).
        199
              18 U.S.C. § 1001(a)(2).
        200
            United States v. Williams, 934 F.3d 1122, 1128 (10th Cir. 2019) (quoting United States v. Harrod, 981
F.2d 1171, 1175 (10th Cir. 1992)).




                                                          51
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 52 of 61




        The term “jurisdiction” in § 1001 “should not be given a narrow or technical

meaning.”201 The term refers to a federal agency’s or department’s “power to exercise authority

in a particular situation,”202 and that power need not include “the power to make final or binding

determinations.”203 “A false statement falls within that jurisdiction when it concerns the

‘authorized functions of an agency or department,’ rather than ‘matters peripheral to the business

of that body.’”204 The false statement need not be made directly to the agency or department to

fall within its jurisdiction.205

        The Court finds that Tao’s Institutional Responsibility form fell within the jurisdiction of

NSF. NSF awarded federal funds to KU specifically to support Tao’s research. “NSF requires

each grantee organization . . . to maintain an appropriate written and enforced policy on conflict

of interest and that all conflicts of interest for each award be managed, reduced or eliminated

prior to the expenditure of award funds.”206 “Conflicts that cannot be satisfactorily managed,

reduced or eliminated, and research that proceeds without the imposition of conditions or

restrictions when a conflict of interest exists, must be disclosed to NSF via use of NSF’s

electronic systems.”207

        Thus, NSF relies on the grantee organization, KU, to identify conflicts of interest and

ensure that those conflicts are managed or disclosed before the expenditure of NSF funds. The

evidence at trial showed that to ensure compliance with federal funding requirements such as



        201
              Rodgers, 466 U.S. at 480 (quoting Bryson v. United States, 396 U.S. 64, 70 (1969)).
        202
              Id. at 479.
        203
              Id. at 482.
        204
              United States v. Wright, 988 F.2d 1036, 1038 (10th Cir. 1993) (quoting Rodgers, 466 U.S. at 479).
        205
              Id.
        206
              Ex. 48 at 127.
        207
              Id. at 12.




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        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 53 of 61




NSF’s, KU uses the information in Institutional Responsibilities forms submitted by principal

investigators like Tao to determine whether any conflicts exist that need to be managed, reduced,

or eliminated. NSF’s ability to safeguard its funds is not merely peripheral, but rather an

authorized function of the agency.208 And NSF had direct authority to control whether Tao

received those funds. The Court therefore finds that Tao’s Institutional Responsibilities form fell

within NSF’s jurisdiction.

                   2.       False Statement

       Viewed in the light most favorable to the Government, Tao’s Institutional

Responsibilities form was a false statement. Tao argues that under § 1001(a)(2), the Government

cannot rely on an omission of information in the form. But by electronically submitting the

form, Tao certified that (1) the form was “true, correct, and complete,” (2) he had “read and

complied with the Kansas Board of Regents and University of Kansas policies on commitment of

time, conflict of interest, consulting and other employment,” (3) he would “secure approval” for

any “consulting or outside employment” before engaging in the activities, and (4) he would

“report any changes” to the form “as soon as they become known to [him] and no later than 30

days after acquiring a new significant financial interest.”209 This certification constitutes a

statement under § 1001(a)(2), even though the underlying conduct could be characterized as an

omission or concealment.210

       As an initial matter, Tao’s argument that the Government’s false-certification theory

constitutes a “fatal variance” from the Indictment is unavailing. The Indictment alleged that the

Institutional Responsibilities form was itself a false statement, which includes the certification.


       208
             See United States v. Jackson, 608 F.3d 193, 197 (4th Cir. 2010) (collecting cases).
       209
             Ex. 25 at 8.
       210
             See United States v. Celis, 128 F. App’x 819, 819 (2d Cir. 2005).




                                                          53
         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 54 of 61




And the jury was properly instructed on this false statement charge, including the allegations in

the Indictment and the requisite elements of the offense.211 Tao also argues that the Government

deviated from the Indictment when it argued that Tao caused KU to make a false statement, thus

aiding and abetting KU. While the Court agrees with Tao that there was no evidence identifying

any false statement by KU, the Court instructed the jury that “[s]tatements, questions[,] and

arguments of counsel are not evidence,” and admonished the jury to base its verdict solely on the

trial evidence. 212 Under Tenth Circuit precedent, this Court must presume that the jury

“follow[ed] its instructions, even when there has been misleading argument,”213 and there is no

evidence here to the contrary.

        The Government first contends that Tao’s certification was false because he did not

disclose a significant financial interest. But the Court agrees with Tao that the Government

failed to prove that he had a significant financial interest, which is defined as a financial interest

worth $5,000 or more in an entity that “reasonably appears to be related to your University

responsibilities.”214 The Government presented no evidence that Tao received any remuneration

from FZU. And, although a reasonable jury could conclude that Tao received some form of

remuneration during his eight months at FZU, there was no evidence from which it could be

inferred that Tao received $5000 or more.




        211
              Doc. 278, Nos. 2, 13.
        212
              Doc. 278, No. 33.
        213
           Bland v. Sirmons, 459 F.3d 999, 1015 (10th Cir. 2006) (first citing Weeks v. Angelone, 528 U.S. 225,
234 (2000); then citing Boyde v. California, 494 U.S. 370, 384 (1990); and then citing Lingar v. Bowersox, 176 F.3d
453, 460–61 (8th Cir. 1999)).
        214
              Ex. 25 at 4.




                                                        54
         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 55 of 61




         Although the Court finds that the Government did not make a false statement by

certifying that he had no significant financial interest, a reasonable jury could find beyond a

reasonable doubt that the certification was false because Tao had conflicts of time or interest.

Tao did not secure approval from KU for consulting or other employment activities he engaged

in at FZU, including advising graduate students, applying for research funding in China,

obtaining quotes to purchase equipment for the lab and recruiting students to join his research

team at FZU. There was also evidence that Tao had a time commitment in an entity with which

he “engage[d] in personal professional activities that take time away from your University

responsibilities.”215 A reasonable jury could conclude that Tao’s eight-month-long stint at FZU

demonstrated a commitment of time in activities reasonably related to his KU responsibilities,

which included (at both KU and FZU), procuring equipment and managing a lab (or planning to

manage a lab), applying for research funding, advising graduate students, and recruiting students

to join his research team.216

                     3.    Materiality

         When viewed in the light most favorable to the Government, the evidence established

that the Institutional Responsibilities form was materially false. A false statement is material if

“it has a natural tendency to influence, or is capable of influencing, the decision of the

decisionmaking body to which it was addressed.”217 Materiality is a mixed question of law and




         215
               Id.
           216
               Unlike the wire fraud counts, which required the Government to prove that Tao’s deception was part of
a scheme to deprive KU, DOE, or NSF of money or property, the false statement element of this offense only
required the Government to prove that the statement was known to be untrue or made with reckless indifference as
to its truth or falsity. See Doc. 278, No. 13.
        217
            United States v. Williams, 934 F.3d 1122, 1128 (10th Cir. 2019) (quoting United States v. Williams, 865
F.3d 1302, 1310 (10th Cir. 2017)).




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        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 56 of 61




fact.218 In determining whether the Government presented enough evidence to support a jury’s

materiality finding under § 1001, the court asks three questions: “(1) What statement was made?

(2) What decision was the decision maker considering? (3) Was the statement capable of

influencing the relevant decision?”219

       The Government presented sufficient evidence of materiality. It is true that NSF never

sees a principal investigator’s KU Institutional Responsibilities forms, and there is no evidence

that had Tao disclosed his foreign activities to KU, KU would have disclosed this information to

NSF. There is no evidence that NSF would have ever received Tao’s statement. Yet, NSF

required KU to ensure that any conflicts held by principal investigators are managed or disclosed

to NSF in accordance with KU policy before the expenditure of grant funds. Tao’s false

certification prevented KU from fulfilling its responsibility to determine whether his affiliation

with FZU presented a conflict of interest, and if so, what steps needed to be taken to manage,

reduce, or eliminate that conflict before the expenditure of NSF funds. This evidence was

sufficient to allow the jury to find beyond a reasonable doubt that Tao’s false statement had a

natural tendency to influence NSF.

                  4.        Knowingly and Willfully Made a False Statement

       There was also sufficient evidence for a reasonable jury to find that Tao knowingly and

willfully made a false statement in certifying his Institutional Responsibilities form. Tao argues

that he did not act knowingly and willfully because what constituted a financial interest in an

entity that “reasonably appears to be related to your University responsibilities” was ambiguous

language that Tao could reasonably interpret to mean that a second position at FZU was not



       218
             Id. (citing United States v. Gaudin, 515 U.S. 506, 512–14 (1995)).
       219
             Id. (quoting United States v. Christy, 916 F.3d 814, 853–54 (10th Cir. 2019)).




                                                          56
         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 57 of 61




related to his position at KU and not subject to disclosure. Tao points to Dr. Girod’s testimony

that this language means that “if the entity is unrelated to one’s university responsibilities,

there’s nothing to report,”220 and Dr. Girod’s acknowledgement that the form does not explain

“what it means to be related or unrelated.”221 And, Tao argues, a reasonable reading of the time

commitment disclosure requirement is that he only needed to disclose the position if he believed

it interfered with his position at KU over the past year.

         Of course, as the Government posits, the false statement count does not solely depend on

whether Tao had a Significant Financial Interest or Time Commitment. By submitting his

Institutional Responsibilities form, Tao certified not only that it was “true, correct, and

complete” but also that he had “complied” with all of KU’s policies on commitment of time,

conflict of interest, consulting, and other employment.

         To be sure, the Tenth Circuit has held that “in cases arising under 18 U.S.C. § 1001, . . .

the government bears the burden to negate any reasonable interpretations that would make a

defendant’s statement factually correct where reporting requirements are ambiguous.”222 But,

when viewed in the light most favorable to the Government, the evidence proved beyond a

reasonable doubt that Tao in fact understood the disclosure requirements and knowingly and

willfully signed the certification that failed to disclose his affiliation with FZU.

         The best evidence that Tao acted knowingly and willfully was Tao’s own words and

conduct. By January 2018, Tao had been selected a Changjiang Scholar and had commenced



         220
               Trial Tr. Day 2 at 71:9–20.
         221
               Id. at 72:1–3.
         222
             United States v. Migliaccio, 34 F.3d 1517, 1525 (10th Cir. 1994). At trial, Tao requested an ambiguity
jury instruction on this issue, and the Court rejected that request because the evidence did not show that there were
two reasonable interpretations of the language in the Institutional Responsibilities form. Tao also failed to propose a
jury instruction that instructed the jury on what the two reasonable interpretations would be.




                                                          57
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 58 of 61




employment contract negotiations with FZU. The draft contract required that he work full-time

for FZU and relinquish any salary from any concurrent post. Over the next several months, as he

continued to negotiate with FZU, Tao sought advice from several colleagues about navigating his

desire to maintain his employment at KU on either a full-time or part-time basis because he did

not want to give up his research team at KU. One friend, a professor at the Georgia Institute of

Technology, advised him that he needed to “clearly” disclose to KU what he was seeking to do at

FZU and at KU.

       Tao had a similar discussion with a colleague at KU, notably not telling that colleague

about his opportunity and negotiations with FZU, but deceptively advising that he had an

opportunity in Germany and asking the colleague whether KU allowed professors to convert

their appointments from full-time to half-time. That colleague also advised Tao to be transparent

with Tao’s department chair. Tao had a conversation with still another friend, in which Tao

described his dilemma in wanting to sign the contract for full-time employment with FZU, but

Tao’s family’s reluctance to move back to China. These conversations evidence that Tao was

aware that he needed to disclose the truth to KU in attempting to accomplish an appointment at

FZU.

       The jury had other evidence pointing to Tao’s knowledge and willfulness. Recorded

conversations and evidence seized from Tao’s home and lab indicated that Tao was aware that

other professors involved in China talent programs were under investigation or prosecution. Tao

forwarded articles concerning these prosecutions to his wife.223 And when Tao’s professor

friend at Georgia Tech advised Tao that he needed to tell KU about the FZU position, Tao

responded, “some people don’t say anything, that’s for certain. But if I don’t say anything, then .


       223
             Ex. 203.




                                                58
        Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 59 of 61




. . . it would definitely be problematic if this thing were ever looked into.”224 Tao also mentioned

the FBI investigations of other scientists.225

       Further, Tao told his graduate student Nguyen not to tell anyone about Tao taking

Nguyen with him to FZU, even while Tao passed on to Nguyen FZU’s employment offer to

Nguyen. And Tao told another of his former KU students to not use Tao’s FZU email address in

emails with other US-based colleagues.226 This was consistent with FZU’s president’s advice to

Tao. In a recorded phone call, `FZU’s president told Tao not to leave any trace of his job at FZU

‘in writing or anything. Because that would be evidence.”227

       And despite the prestige of the Changjiang Scholar award, Tao concealed his receipt of

the award. He told a former KU student whom he was trying to recruit to FZU: “If someone else

mentions it to you, pretend you didn’t know right? You don’t, you don’t need to go . . . mention

this to others . . . saying I, that is, I got some Changjiang Scholar award or anything like that.”228

       Moreover, a reasonable jury could infer that Tao understood the disclosure requirements,

given his long and prolific history of research funded by government agencies. Tao had served

as a research reviewer on panels for both DOE and NSF. Tao had numerous grant proposals and

awards,229 and had submitted numerous annual Institutional Responsibilities Forms.230 And on




       224
             Ex. 512A at 21:55-57, 04:42-04:55; see also Ex. 514A.
       225
             Ex. 512A at 13:58–20:34.
       226
             Ex. 253.
       227
             Ex. 521A.
       228
             Ex. 511A at 15:43–16:14.
       229
             Trial Tr. Day 3 at 10:14–15:25 (spreadsheet summarizing Tao’s grant proposals and awards).
       230
             Exs. 22–25.




                                                        59
         Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 60 of 61




other occasions, when Tao had a question about disclosure requirements, he did not hesitate to

ask his department chair or mentor.231

        In short, there was sufficient evidence for the jury to conclude that Tao was affiliated

with FZU as a Changjiang Scholar or Changjiang Distinguished Professor, that he knew he

should have disclosed the affiliation to KU but chose not to, and that his certification that he had

complied with all of KU’s policies on commitment of time, conflict of interest, consulting, and

other employment was therefore false. For these reasons, the Court denies Tao’s motion for a

judgment of acquittal on the false statement count.232

IV.     New Trial

        Tao makes little attempt to show that the interest of justice requires a new trial, reiterating

only that the evidence is insufficient to sustain the guilty verdicts. While the Court agrees the

Government presented insufficient evidence to sustain his convictions for wire fraud, and thus

grants Tao’s motion for judgment of acquittal on those counts, the Court finds that the evidence

is sufficient to support his conviction on the false statement count and that there is no ground for

a new trial on that count of conviction. The Court therefore denies Tao’s request for a new trial.

        IT IS THEREFORE ORDERED BY THE COURT that Defendant Feng Tao’s

Motion for Judgment of Acquittal, or, in the Alternative, for a New Trial (Docs. 286, 290) is

granted in part and denied in part. The motion for judgment of acquittal is granted on

Counts 4, 6, and 7. The motion for judgment of acquittal and for new trial is denied as to Count



        231
           See, e.g., Exs. 117–118 (Tao emailing chairs and mentor to ask if serving as an editor of a scientific
journal would pose “any potential issue conflicting with KU policy”); Ex. 292 (Tao asking KU Office of Research
on March 3, 2017 what he should “do for clearance of conflict of interest” if his wife started a company).
        232
            The Court also rejects Tao’s due process challenge. He asserts that the Government’s prosecution
theory violates the Due Process Clause’s fair warning requirement. Tao raised this argument in his motion to
dismiss, and the Court rejected it. See United States v. Tao, 499 F. Supp. 3d 940, 963–66 (D. Kan. 2020). For the
same reasons stated in the Court’s order denying his motion to dismiss, the Court rejects it again here.




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       Case 2:19-cr-20052-JAR Document 306 Filed 09/20/22 Page 61 of 61




9. The Clerk of the Court shall enter a judgment of acquittal on Counts 4, 6 and 7 of the Second

Superseding Indictment.

       IT IS SO ORDERED.

       Dated: September 19, 2022

                                                 S/ Julie A. Robinson
                                                 JULIE A. ROBINSON
                                                 UNITED STATES DISTRICT JUDGE




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